Case: 1:21-cv-01440 Document #: 6 Filed: 03/25/21 Page 1 of 51 PagelD #:15

UNITED STATES DISTRICT COURT
FOR THE Northern District of Illinois
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Eastern Division cue! ,
saan enn 3c AM &: 00

WS. DISTRICT COURT

Gwenesther Manning )
Plaintiff, )
) 21 CV 1440
v. )
)
Louis DeJoy, Postmaster General ) - i LL. Es Ls
U.S. Postal Service )
Defendant. MAR 25 2021 4

THOMAS G. SRUTON
AMENDED COMPLAINT CLERK, U.S. DISTRICT COURT

Comes now, Gwenesther Manning, plaintiff in the above captioned cause and fills this
Amended Complaint pursuant to Rule 15(a) of the Federal Rules of Civil Procedure and state in
support as follows:

A complaint was filed with the Agency on February 24, 2018. A Final Agency Decision
(FAD) was issued October 26, 2018, and received November 1, 2018.

The FAD was appealed to the Equal Employment Opportunity Commission (EEOC). EEOC
issued affirmed the Agency’s Final. A request for reconsideration was submitted. The Decision on
my request for reconsideration was issued November 30, 2020 and received on December 14, 2020.

The instant complaint was timely filed on March 12, 2021, within 90 days of receipt of the
decision of the Equal Employment Opportunity Commission as required.

This action for employment discrimination is limited to issue no. 8 of EEOC’s Decision on
Reconsideration, “On March 30, and 31, 2018, CSM2 told Complainant that she could not return to
work until her request for light duty had been approved.” The dates are incorrect, dates of March 30

and 31, 2018 should have been March 29, and 30, 2018.
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The Defendant engaged in disability discrimination. My claim is further supported by
multiple grievance decisions for when I was either put off the clock or denied an equal opportunity
to return to work under similar circumstances.

The facts supporting my claim are as follows:

1. On March 29, 2018, Tiffany Bates (Bates) the manager at Twenty Second Station,
2035 S. State St., Chicago, IL 60616, stopped me as I worked the PO Boxes and told me that she
could not let me work because I had not been approved for light duty.

z Also on March 29, 2018, I completed PS Form 3971, Request for or Notification of
Absence in which I requested seven (7) hours of leave without pay before I left the building. My
Form 3971 was approved by Bates attached to as Exh. A-1.

3. On March 30, 2018, when I arrived at work, Bates instructed me to meet her in her
office.

4. On March 30, 2018, once inside Bates office, there was a brief conversation with
Bates, Cassandra Glover the union steward and myself. Bates told me that I had to leave the
building and that I was not to return until I had been approved for light duty.

5. March 30, 2018, I completed PS Form 3971, Request for or Notification of Absence
requesting seventy-nine (79) hours of leave and left the building. My Form 3971 was approved by
Bates. (Exh. A-2)

6. Bates signed and approved PS Forms 3971 before I left the building on March 29,
and 30, 2018.

7. After Ms Bates arrival at Twenty Second Street Station on or around March 3, 2018,
under Bates management, I worked an average of six (6) hours per day.

8. On March 6, 2019, the same manager, Bates sent me a Five Day -Absence Notice

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and a notice for an Investigative Interview which was scheduled for March 14, 2019 at 10:00 a.m.. I
reached out to Bates requesting to reschedule the Investigative Interview. (Exhs. B-1& B2)

. By notice dated March 13, 2019, I was advised that the Investigative Interview had
been rescheduled for Friday March 22, 2019 at 12 noon. (Exh. B-3)

10. However, by notice dated March 27, 2019 the Investigative Interview was
rescheduled for Friday April 5, 2019 at 12:00 noon. There was also another Five-Day Absence
Notice enclosed dated March 27, 2018. (Exhs. B-4 & B5)

11. lL attended the Investigative Interview on March 27, 2019. During the interview, I
was asked for medical documentation to justify my extended absence.

12. I responded that I would not be submitting medical documentation for my absence
because I was not absent due to medical reasons.

13. During the Investigative Interview, I articulated that I was absent because Bates put

me off the clock.

14. After the interview concluded, I was instructed to report for duty on or around April
22, 2019.

15. Treturned to duty on or around April 22, 2019 without submitting a new request for
Light Duty.

16. In the interim, I remained off the clock or restated, out of service, over a year from on

or around March 31, 2018 until on or around April 22 of 2019.

17. I returned to work a year later, under Bates’ management, without being approved for
light duty.

18. There is no provision in the Employees Labor Manual (ELM) which state that

management is authorized to pull an employee out of service and not return until they have been
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approved for Light Duty.

19. There is no provision in the Collective Bargaining Agreement which support Bates
taking me out of service until I had been approved for light.

Therefore, I was subjected to an adverse employment action for which relief is available.
Relief sought:

b, Lost wages, benefits, prejudgment interest, post-judgment interest, and costs,
including reasonable attorney fees if necessary.

2 Grant any other relief the Court deems just and equitable.

Gwenesther Manning, Pro Se
19214 Lange Street

Lansing, IL 60438
312-622-5783
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Post eae. Request for or Notifi cation 0 of Abse sof ci

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PS Form 3971, October 2017 (Page 2 of 2) PSN 7530-02-000-9136 oi
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Exn A-2
Affidavit A
Page 101 of 206

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POSTAL SERVICE

March 6, 2019

SUBJECT: Five-Day Absence Notice

Gwenesther Manning EIN: 02690872
19214 Lange Street Job title: Clerk/SSDA
Lansing, IL 60438 Pay Location: 016

According to our records, you have been absent from duty for more than five days.

In accordance with the Employee and Labor Relations Manual (ELM) Section 513.362, you
are required to submit medical documentation or other acceptable evidence of incapacity to
work or of need to care for a family member. | have not received any such documentation
from you. Therefore, you are being given five days from receipt of this letter to submit
acceptable documentation for your absence. If you fail to submit acceptable
documentation, your absences will be considered AWOL. An original copy of the
documentation must be provided and it has to be mailed or presented in person. No
e-mail copies will be accepted.

In accordance with ELM 513.364, acceptable medical documentation should be furnished
by your attending physician or other attending practitioner who is performing within the
scope of his or her practice. The documentation should provide an explanation of your
iliness or injury, sufficient to indicate to management that you were unable to perform your
normal duties for the period of absence. Medical statements such as “under my care” or
“received treatment” are not acceptable evidence of incapacitation to perform duties.

In accordance with ELM Chapter 865, employees returning to duty after an absence due to
illness or serious injury may require return-to-work clearance. Please see the attached copy
of ELM Chapter 865 for more information.

You are reminded that all employees are expected to maintain their assigned schedules and
must make every effort to avoid absences. Employees are required to be regular in
attendance. Failure to document your absences and continued AWOL could result in
disciplinary action up to and including removal.

Sincerely, ap 4 A

Ma Larne Bods — a,\%

Ms. Tiffany Bates
Manager, Customer Services

Twenty-Second Street Station VW

312-225-0218

Attachments:
ELM Chapter 865 This notice was sent by First Class and Priority USPS Tracking
9114999944238066165662 on March 6, 2019 Ex B- /
- « * Case: 1:21-cv-01440 Document #: 6 Filed: 03/25/21 Page 8 of 51 PagelD #:22

8) UNITED STATES
Bd POSTAL SERVICE

March 6, 2019

<

SUBJECT: Investigative Interview

Gwensther Manning EIN: 02690872
19214 Lange Street Job title: Clerk/SSDA
Lansing, IL 60438 Pay Location: 016

This is official notification that you are required to report to Twenty-Second Street
Post Office, 2035 S. State St. Chicago Illinois 60616 on Thursday, March 14, 2019,
at 10:00 am for an investigative interview relative to your present absence from
work. This is your opportunity to explain your extended absence from work and why
corrective action should not be taken against you.

If you wish to have a USPS representative present during this interview, you may
contact me and | will make arrangements for a USPS representative to be present.

lf, for any reason, you are unable to report for this interview, you are required to
contact me no later than the day prior to the scheduled interview to make other
arrangements. Failure to report as scheduled or contacting me to make other
arrangements may result in corrective action, up to and including removal, for failure
to follow instructions. Furthermore, you will forfeit your opportunity to respond to the
charges against you, leaving me no other alternative than to render my decision
regarding possible corrective action based on the evidence of record.

You may contact me or one of my supervisors at 312-225-0218

Me A

Me Idfomy ba [Lo
Ms. Tiffany Bates Y

Manager, Customer Service

Twenty-Second Street Station

Attachments:

ELM Chapter 865 This notice was sent by First Class and Priority USPS Tracking
9114999944238066165662 on March 6, 2019
Case: 1:21-cv-01440 Document #: 6 Filed: 03/25/21 Page 9 of 51 PagelD #:23

ent UNITED STATES

Bed POSTAL SERVICE

March 13, 2019

SUBJECT: Investigative Interview

Gwensther Manning EIN: 02690872
19214 Lange Street Job title: Clerk/SSDA
Lansing, IL 60438 Pay Location: 016

Per your request your Investigative Interview has been rescheduled for Friday March
22, 2019.

This is official notification that you are required to report to Twenty-Second Street
Post Office, 2035 S. State St. Chicago Illinois 60616 on Friday March 22, 2019, at
12:00 noon for an investigative interview relative to your present absence from work.
This is your opportunity to explain your extended absence from work and why
corrective action should not be taken against you.

If you wish to have a USPS representative present during this interview, you may
contact me and | will make arrangements for a USPS representative to be present.

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regarding possible corrective action based on the evidence of record.

You may contact me or one of my supervisors at 312-225-0218

aN

Ss. ny Bates
Manager, Customer Service

Twenty-Second Street Station

Attachments:
ELM Chapter 865 This notice was sent by First Class and Priority USPS Tracking
9114 9999 4423 8066 1656 55 on March 13, 2019

USPS TRACKING # 94144 9999 4423 9
& CUSTOMER For Tracking or inquiries 3066 1656 55
RECEIPT or call 1-800-222-1811.

Ext 63
- © Case: 1:21-cv-01440 Document #: 6 Filed: 03/25/21 Page 10 of 51 PagelD #:24

March 27, 2019

SUBJECT: Notice of Investigative Interview

Gwensther Manning EIN: 02690872
19214 Lange Sireet Job title: Clerk/SSDA
Lansing, IL 60438 Pay Location: 016

This is official notification that you are required to report to Twenty-Second Sireet
Post Office, 2035 S. State St. Chicago Illinois 60616 on Friday April 5", 2019, at
12:00 noon for an investigative interview relative to your present absence from work.
This is your opportunity to explain your extended absence from work and why
corrective action should not be taken against you.

if you wish to have a USPS representative present during this interview, you may
contact me and | will make arrangements for a USPS representative to be present.

lf, for any reason, you are unable to report for this interview, you are required to
contact me no later than the day prior to the scheduled interview to make other

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regarding possible corrective action based on the evidence of record.

You may contact me or one of my supervisors at 312-225-0218

J dep OAV i Palc y
Ms. Tiffany Bates
Manager, Customer Service
Twenty-Second Street Station

Attachments:
ELM Chapter 865 This notice was sent by First Class and Priority USPS Tracking
9114 9012 3080 1288 0070 71 on March 27, 2019

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Case: 1:21-cv-01440 Document #: 6 Filed: 03/25/21 Page 11 of 51 PagelD #:25

UNITED STATES
POSTAL SERVICE

March 27, 2019

SUBJECT: Notice of Investigative Interview

Gwensther Manning EIN: 02690872
19214 Lange Street Job title: ClerkK/SSDA
Lansing, IL 60438 Pay Location: 016

This is official notification that you are required to report to Twenty-Second Street
Post Office, 2035 S. State St. Chicago Illinois 60616 on Friday April 5", 2019, at
12:00 noon for an investigative interview relative to your present absence from work.
This is your opportunity to explain your extended absence from work and why
corrective action should not be taken against you.

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You may contact me or one of my supervisors at 312-225-0218

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AAI One PDodv2
Ms. Tiffany Bates

Manager, Customer Service
Twenty-Second Street Station

Attachments:
ELM Chapter 865 This notice was sent by First Class and Priority USPS Tracking
9114 9012 3080 1288 0070 71 on March 27, 2019

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Case: 1:24-cv-01440 Document #: 6 Filed: 03/25/21 Page 12 of 51 PagelD #:26

SE No Zl CV /440

UNITED STATES POSTAL SERVICE —~
EQUAL EMPLOYMENT OPPORTUNITY CASE

INTHE MATTER OF:
Anan ane a gic 3: 59
Gwenesiher F, Manning
Complainant _. Agency Base Ne. 4J-606-0034-18
U o>. Hol KiCT COUR
Vv.
Megan J. Brennan,
Postmaster General, Forma! Filed: February 24, 2018
c/o Great Lakes Area
Respondent.
FINAL AGENCY DECISION
introduction

Pursuant to Equal Employment Opportunity Commission (EEOC) regulations at 29 C.F.R.
§1614.110, this is the final agency decision of the U.S. Postal Service regarding the
complaint of discrimination identified above.

Statement of Claim

The complainant alleged discrimination based on Disability (To be Specified)’ and
Retaliation? (Prior EEO Activity) when: 1) On November 27, 2017, she did not believe
she was paid for working; 2) On December 15, 2017, she was not accommodated when
she was told she could not sit down at the retail counter’: 3) On January 5, 2018, she was
not accommodated when she was forced to sign a modified job offer that possibly violated
her restrictions; and 4) Since January 9, 2018, and continuing, she was not
accommodated when she was told to perform work that violated her restrictions or go
home. (Report of investigation [ROI], Claims to be Investigated, pp. 9-12).

On April 9, 2018, the complainant's complaint was amended to include the following
issues: 5) On dates to be specified between February 23 and March 3, 2018, she was not
accommodated when she was only permitted to work about one hour daily*; 6) On
February 27, 2018, her starting time was changed: 7) On March 3, 2018, the manager

' The complainant testified that her main medical conditions are kumbar radiculepathy and disc degenerative disease.
(ROL, ATE A, p: 2).

?'‘The complainant added the purview of retaliation in her affidavit. The complainant testified that her medical condition
was nota factor in claims 1 and 7 nor was her prior EEO activity a factor in clairn 7. Therefore, claims 1 and 7 will not
be addressed under disability or claim 7 under reprisal, (ROI, Affidavit [Aff] A, pp. 7, 24-25, 28-29),

* The compiainant clarified that she the issue was not an accommodation issue, it was a disparity of treatment issue
when she was told not to sit down while other clerks were not. (ROT Aff. A, p. 8).

* The complainant testified that she worked 1 hour on February 24, 26, and 27, and March 1-3 and 29, 2018. (RO|.
Aff. A. p

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Se,
Case: 1:21-cv-01440 Document #: 6 Filed: 03/25/21 Page 13 of 51 PagelD #:27

gency Decision

Gwenesther F. Manning

Agency Case Number 4-506-0034-18
Page 2

said she would speak to her about resuming her regular schedule, out she never did: 8}
On or around March 30, 2018, she was not accommodated when she was told she would
only be permitted to work one hour daily; and 9) On March 31, 2018, she was not
accommodated when she was told that she could not work until her light duty request was
approved’. (ROI, Claims to be Investigated, pp. 3-6). /

Chronology

This complaint was processed in accordance with the applicable Equal Employment
Opportunity Commission (EEOC) regulations, 29 C.F.R. §1614.103 ef seg. An
investigation was conducted, and a copy of the investigative report was transmitted to the
compiainant on August 8.2018. Fallowing the receipt of that repart, the complainant had
30 days within which to request a hearing before an EEOC Administrative Judge (AJ) or
a final agency decision without a hearing.

As the compiainant failed to request either a hearing or a final agency decision without a
hearing, this decision is being issued in accordance with 29 C.F.R. §1614.110¢b).

Applicable Law

Disparate Treatment

The United States Supreme Court established a burden-shifting framework for analyzing
claims of discrimination in McDonnell Douglas Corporation v. Green, 411 U.S. 792 (1973),
and subsequently refined that analysis in Texas Department of Community Affairs v.
Burdine, 450 U.S. 248 (1981). The McDonnell Douglas and Burdine approach involves
a three-step process when a complainant alleges intentional discrimination based on a
disparate treatment theory. The Equal Employment Opportunity Commission has
adopted this approach in its decision making. Downing v. U.S. Postal Service, EEOC
Appeal No. 01822326 (September 19, 1983): Jennings v. U.S. Postal Service, EEOC
Appeal No. 01932793 (April 13, 1994); and Saenz v. Department of the Navy, EEOC
Request No. 05950927 (January 9, 1998). A complainant alleging discrimination must
first demonstrate that there is some substance to his or her claim. To satisfy this burden,
the complainant must establish a prima facie case of discrimination for each of the bases
of discrimination alleged by a preponderance of the evidence. Furnco Construction
Company v. Waters, 438 U.S. 576 (1978).

Although a complainant may establish a prima facie case by presenting direct evidence
of discrimination, the more frequent method of establishing a prima facie case is through
circumstantial evidence by showing that he or she: (1) belongs to a protected group: (2)
was subjected to an adverse employment action; and (3) was treated differently in this
regard than similarly situated individuals who were not members of the protected group.

> The complainant clarified that issue 9 occurred on March 30, 2018. GROT Aff. A, p. Zi}.
Case, d2AsCv,01440 Document #: 6 Filed: 03/25/21 Page 14 of 51 PagelD #:28

ficy Deasion
‘Swenesther F. Manning
Agency Case Number 4-608-0034-18
Page 3

Hill v. Department of Veterans Affairs. EEOC Appeal No. 0120063979 (November 28,
2007); Mayberry v. Vought Aircraft Company, 55 F.3d 1086, 1090 (5 Cir. 1995): Mitchell
v. Toledo Hospital, 964 F.2d 577, 582-83 (6" Cir. 1992) The failure to establish a specific
element of a prima facie case may be overcome by presenting evidence of agency actions
from which an inference of discrimination could be drawn if they remained unexplained.
Day v. U.S. Postal Service, EEOC Appeal No. 01996097 (September 18, 2000).

Once a prima facie case has been established, the burden of production shifis fo the
employer to articulate a legitimate, non-discriminatory reason for its action. Furneo, 438
U.S. at 578. See also St. Mary's Honor Center v. Hicks, 509 U.S. 502, 506 (1993). The
employer need not persuade the trier of fact that the proffered reason was its actual
motivation but merely needs to raise a genuine issue of fact as 16 whether it discriminated
against the complainant. Burdine, 450 U.S. at 254: Kevail v. Commodity Futures Trading
Commission, EEOC Appeal No. 01832127 (November 2. 1984): Hollis v. Department of
Veterans’ Affairs. EEOC Appeal No. 01934600 (May 3, 1994). Hf the agency offers no
adequate explanation for the discrepancy in treatment between the complainant and
similarly situated employees, the agency does not carry its burden of production and the
complainant prevails on the basis of the inference of discrimination created by the prima
facie case. Frady v. U.S. Postal Service, EEOC Appeal No. 01A05317 (January 10,
2003); Houston v. Department of Veterans’ Affairs, EEOC Appeai No. 01976054 (August
27, 1999); and Parker v. U.S. Postal Service, EEOC Request No. 05900110 (April 36,
4990).

if the employer meets this burden, any presumption of discrirnination created by the prima
facie case disappears; it simply “drops from the case.” Hicks, 509 U.S. at 507: U.S. Postal
Service Board pf Govemors v. Aikens. 460 U.S. 711, 71 5 (1983). See also Hernandez
v. Department of Transportation, EEOC Request No. 059001598 (June 28, 1990) and
Peterson v. Department of Health and Human Services, EEOC Request No. 05900467
(June 8, 1990). The complainant can then prevail only if he or she praves that the
employer's reasons are not only pretext but are pretext for discrimination. Hicks, 509
U.S. at 507 and 516; Nichois v. Grocer, 138 F.3d 563, 566 (5" Cir. 1998): Swanson v.
General Services Administration, 110 F.3d 1180, 1185 (5" Cir. 1997). See also Papas v.
U.S. Postal Service, EEOC Appeal No. 01923753 (March 17, 4994) and Bradford v.
Department of Defense, EEOC Appeal No. 01940712 (September 20, 1994). Thus, the
complainant cannot create a factual issue of pretext based merely on personal
speculation that there was discriminatory intent. Southard v. Texas Board of Criminal
Justice, 114 F.3d 539, 555 (5" Cir. 1997): Lyles v_U.S. Postal Service. EEOC Appeal No.
O1A11110 (May 22, 2002); and Nathan v. U.S. Postal Service, EEOC Appeal No.
01995788 (August 29, 2001).

Pretext involves more than a mistake. it means that the reason offered by management
is factually baseless, is not the actuai motivation for the action, or is insufficient to motivate
the action. Tincher v. Wal-Mart Stores. Inc., 118 F.8d 1125, 1130 (7*" Cir. 1997} and
Morgan v. Hilti, Inc., 108 F.3d 1349, 1323 (10 Cir. 1997), The complainant always

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carries the “ultimate burden of persuading the trier of fact that he has been the victim of
intentional discrimination.” Burdine, 450 U.S. at 254 and Hicks 509 U.S. at 511.

The ultimate burden of persuasion remains with the complainant. Board of Trustees of
Keene College v. Sweeney, 439 U.S. 24, 25 N.2 (1978). This burden was reaffirmed and
clarified in St. Mary's Honor Center v. Hicks, supra., where the Court held that in order to
impose liability upon an employer for discriminatory employment practices, an ultimate
finding of unlawful discrimination is required whether or not the employer's explanation
for its action was believable. See also Brewer v. U.S. Postal Service, EEOC Appeal No
01941786 (June 21, 1994) and Montoya v. Depariment of Housing and Urban
Development, EEOC Appeal No. 01940999 (August 4, 1994).

Person with 2 Disability

Discrimination based on disability and the failure to accommodate a qualified individual
with a disability in connection with federal employment are prohibited oy the Rehabilitation
Act of 1973 (29 U.S.C. §791). The Rehabilitation Act Amendments cf 1992 (P.L. 102-
569, October 29, 1992) added a new Subsection (g) te 29 U.S.C. 8794 making it clear
thai the same standards which apply to claims under the Americans With Disabilities Act
are to be applied to Rehabilitation Act claims. On January 1, 2009, the ADA Amendments
Act of 2008 (P.L. 110-325, September 25, 2008) became law, addressing what Congress
viewed as unduly restrictive interpretations of the ADA by the courts and administrative
bodies. Following its passage, courts have consistently held that the ADA Amendments
Act shouid not be applied retroactively. See EEOC v. Agro Distribution, LLC, 555 F. 3d
462 (5" Cir. 2009} and Lytes v. D.C. Water and Sewer Authority, 572 F. 3d 936 (D.C. Cir.
2009). The EEOC promulgated regulations implementing the ADA Amendments Act on
March 25, 2011.

In order fo assert a claim of disability discrimination, a complainant must satisfy the
threshold requirement that he or she is a “person with a disability” as that term is defined
in the applicable siatutes and Equal Employment Opportunity Commission regulations.
Title 42, United States Code, Section 12102(1) and 29 C.F.R. §1630.2(g)(4) define a
person with a disability as an individual who: (i) has a physical or mental impairment which
substantially limits one or more of that person’s major life activities (referred to elsewhere
in the regulations as “actual disability”); (i) has a record of such an impairment: or (ii) is
regarded as having such an impairment. See also Melahn v. Department of the Navy.
EEOC Appeal No. 01832380 (October 21, 1985). Whether an individua! has a disability
is not based on the name or diagnosis of the impairment involved but rather the effect
which that impairment has on the individual.

Person with a Disability — Actual Disability

The f what constitutes a “physical or mental impairment” remains very broad.
See 29 C.F.R. $i830{h){7) and (2). According to the Americans With Disabilities Act
(ADA). the Americans With Disabilities Act Amendments Act (ADAAA), and EEOC
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regulations, major fife activities include, but are not limited to, caring for oneself,
performing manual tasks, walking. seeing, hearing, speaking, breathing, learning, and
working. See 42 U.S.C. §12102(2){(A) and 29 C.F.R. §$1630.2(hy2)())@. They also
include standing, lifting, bending, reading, concentrating, thinking, communicating, and
eating. The ADAAA aiso included within the definition of major life activity a category of
major bodily functions which include functions of the immune system and normal cell
growth, and respiratory, circulatory, endocrine, reproductive, digestive, neurofogical,
brain, Bowel, and bladder functions. 42 U.S.C. §12102(2MB) and 29 C.F.R.
§1630.2(h)(2)) 10D.

The ADAAA made it clear that Congress believed that the courts and the Equal
Employment Opportunity Commission had been teo narrow in their interpretations of the
term “substantially limits” and instructed them to apply that term °_...consistently with the
findings and purposes of the ADA Amendments Act of 2008” and te construe the Act in
favor of “broad coverage.” See 42 U.S.C. §12101(a)(1}) and (b)(1). The Act and its
implernenting regulations create nine “Rules of Construction” to be applied to determine
whether or not an impairment is substantially limiting. 42 U.S.C. §12102(4) and 29 C.F.R.
§1830.20}(1). Besides calling for broad and consistent coverage and an “individualized
assessment’, the rules provide that an impairment is disabling if it substantially limits an
individual's ability to perform a major life activity in comparison to “most people in the
general population.” In making this comparison, the regulations call for consideration of
the difficulty, effort, or time required by the individual te perform the major life activity; the
length of time the activity can be performed: the way in which the major life activity is
affected by the impairment involved; and the non-ameliorative effects of mitigating
measures such as the side effects of medication. See 29 C.F.R. §1630.2(j)(4). This
reguiation also makes clear thai the focus should be on the effort required not the
oufcome that can be achieved by the individuai with the impairment.

In addition, an impairment need only affect one major life activity to be substantially
limiting; an impairment need not “significantly restrict” in order fo be substantially limiting:
and a determination concerning the application of the term should not require “extensive
analysis” and not usually require scientific, medical, or statistical analysis. The rules also
siate that episodic impairments or those in remission can be substantially limiting if they
would be so when they are active and that even conditions which have less than a six-
month duration could be substantially limiting. Significantly, the Commission states in its
regulations that the application of these rules of construction to certain medical conditions
will“... in virtually ali cases, result in a determination of coverage...” when assessing a
possible “actual disability” (as distinguished from a “regarded as” disabled) situation. See
29 C.F.R. §1630.2(/)(3), Predictable Assessments.

The ADAAA eliminated consideration of the ameliorative effects of mitigating measures
when determining whether or not an impairment is substantially limiting except for
consideration of ordinary eyeglasses or contact lenses intended ic correct visual acuity
or eliminate refractive error. Mitigating measures include medication: medical supplies,
equipment, or appliances; assistive technologies; low vision devices; hearing aids and
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implants; mobility devices; oxygen therapy equipment and supplies: prosthetics: and
“reasonable accommodations or auxiliary aids or services’, e.g. interpreters or readers or
the modification of equipment. See 42 U.S.C. §12102(4)(E) and §12103 and 29 C.F.R.
§1630.2(j){5) and (6).

A generalized assertion, without specific evidence to support it, that an individual is
substantially limited is not sufficient to satisfy a complainant's burden of proof. Lohr v.
U.S. Postal Service, EEOC Request No. 05930799 (May 19, 1994): Zeigler v. U.S. Postal
Service, EEOC Appeal No. 01930854 (May 12, 1994) and Jenkins v. U.S. Postal Service,
EEOC Appeal No. 01954572 (March 24, 1997). Itis also not enough that the agency is
in possession of a diagnosis; that an individual's supervisor knows that they have a
particular condition; that the complainant has an approved claim with the Office of
Workers Compensation Programs: or that the complainant has a percentage disability
awarded by the Department of Veterans Affairs. Black v. U.S. Postal Service, EEOC
Request No. 05930748 (May 12, 1994): Pascale v. Department of the Navy. EEOC
Petition No. 03850092 (March 5, 1986): Schnabele v. U.S. Postal Service, EEOC Appeal
No. 01982634 (July 13, 2001); and Bono v. U.S. Postal Service, EEOC Appeal No,
01951113 (August 11, 1997).

Person With a Disability — Record Of

EEOC's regulations provide that an individual may establish that he or she is a “person
with a disability” by showing that he or she has a history of, or has been misclassified as
having, a physical or mental impairment which substantially limits one or more major life
activities compared to most people in the general population. See 42 U.S.C.
§12102(1)(B) and 29 C.F.R. §1630.2(k). The Commission notes that consideration of
whether or not the past condition/impairment was substantially limiting is required and
that reasonable accommodation may be involved in a “record of” case: e.g. follow up
medical care for the formerly limiting condition.

Person With a Disability —- Regarded As

An individual can establish that he or she is a person with a disability by showing that he
or she was subjected to a prohibited action because of an actual or perceived physical or
mental impairment, whether or not it substantially limits or is perceived to substantially
limit, a major life activity. 42 U.S.C. §12102(1)(C); §12102(3); and 29 C.F.R. §1630.2(1).
See also 29 C.F.R. §1630.2(j)(2). However, “transitory and minor” impairments are
excluded, with “transitory” defined as involving an actual or expected duration of six
months or less. 42 U.S.C. §12102(3)(B). Both aspects must be established by objective
evidence in order to assert this defense. 29 C.F.R. §1630.15(f). The regulations also
state that establishing that an employer took an action because of an actual or perceived
physical or mental impairment does not establish that the employer is liable for disability
discrimination (29 C.F.R. §1630.2(h(3). Finally, if a claim is presented as a “regarded as”
claim, there is no consideration of reasonable accommodation. 29 C.F.R. §1630.2(0)(4)
and §1630.9(e). Title 29 C.F.R. §1630.2(g)(3) indicates that where an individual is not
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challenging an employer's failure to provide a reasonable accommodation and does not
require a reasonable accommodation, it is generally unnecessary to proceed under the
“actual disability” or “record of’ prongs, which require a showing of an impairment that
substantially limits a major life activity or a record of such an impairment, and that the
evaluation of coverage can be made solely under the “regarded as” prong of the definition
of disability.

Disability — Accommodation

Assuming that a complainant has established that he or she is a person with a disability,
the next element of a prima facie case based on a failure to accommodate is to establish’
that he or she is “a qualified individual.” 42 U.S.C. §12111(8). The requiations define a
“qualified individual” as a person who satisfies the requisite skill, experience, educational,
and other job-related requirements of the position the individual holds or desires and who,
with or without reasonable accommodation, can perform the essential functions of that
position without endangering the health and safety of the individual or others. 29 C.F.R.
§1630.2(m).

The essentia! functions of a position are the fundamental job duties of the position the
complainant holds or desires considering whether the position exists to perform the
function, whether there are a limited number of individuals available to perform the
function, of whether the function is highly specialized and the incumbent was hired for his
or her expertise. 29 C.F.R. §1630.2(n), The complainant has the burden of proving that
he or she is a “qualified individual.” Jasany v. Postmaster General, 755 F.2d 1244 (6th
Cir. 1985). The complainant must also show that the agency was aware of the allegedly
disabling condition and that a plausible accommodation can be made. Mikovich v. U.S.
Postal Service, EEOC Appeal No. 01A11150 (June 20, 2002) and Lineovich v. U.S. Postal
Service, EEOC Appeal No. 01810610 (August 9, 1982).

if it is determined that the complainant is unable to perform the essential functions of his
or her position, the next inquiry is whether there is any reasonable accommodation by the
employer which would enable him or her to perform those functions without constituting
an undue hardship. The Commission’s regulations provide examples of possible forms
of accommodation and note that absent undue hardship, an employer is required to
provide a reasonabie accornmodation to an otherwise qualified individual who is actually
disabled (29 C.F.R. §1630.2(g)(i)(1)(}) or has a “record of a disability (29 C.F_R.
§1630.2(g)(i)(1)(i)}; 29 C.F.R. 1630.2(0) and 1630.9(e)). See also White v. York
International Corporation, 45 F.3d 357, 361-362 (10 Cir. 1995). The factors to be
considered in determining whether an undue hardship exists are set out in the statute and
regulations and include the nature and cost of the accommodation; the financial and other
resources of the facility or the employer; and the type of operations in which the employer
engages. 42 U.S.C. §12111(10) and 29 C.F_R. §1630.2(p).

An employer is not required to provide an accommodation which does not assist the
complainant in performing the essential functions of his or her position. Conley v. U.S.

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Postal Service, EEOC Appeai No. 01984624 (July 6, 2001). The employer must be able
to accommodate the individual without undue hardship. Brown v. Secretary of the Interior,
EEOC Petition No. 03A00004 (May 22, 2002) and Hoang v. U.S. Postal Service, EEOC
Appeal No. 01923725 (March 30, 1993). The employer is not required to accommodate
an individual by eliminating the essential functions of his or her job or by creating a job
not already existing within the organization, including a light duty position. Turco v.
Hoechst Celanese Corporation, 101 F.3d 1090, 1093-1094 (5" Cir. 1996); Shiring v.
Postmaster General, 90 F.3d 827, 831-832 (3° Cir. 1996); and Watson y. Lithonia
Lighting and National Service Industries, Inc., 304 F.3d 749 (7" Cir. 2002), cert. denied
123 S. Ct. 1286 (2003). .

The Rehabilitation Act does not require an employer to lower or substantially modify
Siandards to accommodate an individual or to take an action inconsistent with the
contractual rights of others under a collective bargaining agreement. Jasany, 755 F.2d
at 1250-1251; Foreman v. Babcock & Wilcox Company, 117 F.3d 800, 810 (5" Cir. 1997):
Williams v. Widnail, 79 F.3d 1003 (10° Cir. 1996); and Hufford-Smith v. Department of
Justice, EEOC Appeal No. 01995040 (February 13, 2002). In addition, a disabled worker
is not entitled to the reasonable accommodation which he or she prefers and must show
a connection between the disabling condition and the requested accommodation. Gile v.
United Airlines, Inc, 95 F.3d 492, 498 (7" Cir. 1996); Wiggins v. U.S. Postal Service,
EEOC Appeal No. 01953715 (April 22, 1997); and Metzenbaum v. Office of Personnel
Management, EEOC Appeal No. 01986974 (April 4, 2002).

An employer may accommodate an individua! through reassignment. However, the
employer does not have to accommodate him or her by promoting him to a higher level
position or bumping another employee out of a job fo create a vacancy. Shiring. 90 F.3d
at 832 where the court held that the employee would have to establish that“... there were
vacant, funded positions whose essential duties [the employee] was capable of
performing, with orwithout reasonable accommodation, and that those positions were at
an equivaient level or position [as the position the employee previously held].” Therefore,
for the accommodation of reassignment to be reasonabie, a position must exist within the
organization and be vacant, the employee must be “otherwise qualified” to meet the
criteria for this position, and the reassignment must not offend the contract righis of others
under the applicable collective bargaining agreement. Foreman, 117 F.3d at 810.

Disability — Disparate Treatment

Courts have adopted and appiied the Title Vil burdens of proof to disability discrimination
claims. See, for example, Norcross v. Sneed, 755 F.2d 113 (8'" Cir. 1985) and Prewitt v.
Postmaster General, 662 F.2d 292 (5" Cir. 1981). The Commission has also analyzed
cases under this theory. Greathouse v. Department of the Army, EEOC Appeal No.
01984880 (May 2, 2001) and Oberg v. Secretary of the Navy, EEOC Request No.
05890451 (July 20, 1989).

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in analyzing a disparate treatment claim under the Rehabilitation Act, the burden-shifting
method of preof set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973)

applies. See Heyman v. Queens Village Committee for Mental Healih for Jamaica

Community Adolescent Program, 198 F.3d 68 (2 Cir. 1 999} and Swanks v. WMATA,
179 F.3d 929, 933-34 (D.C. Cir. 1999). Under this analysis, in order to establish a prima
facie case, a complainant must demonstrate that he or she: (1) is an “individual with a
disability", (2) is “qualified” for the position held or desired: (3) was subjected to an
adverse employment action; and (4) the circumstances surrounding the adverse action
give rise to an inference of discrimination. Lawson v. CSX Transportation, inc., 245 F.3d
916 (7" Cir. 2001).

Similarly Situated Employees

One of the key elements of a prima facie case of disparate treatment based on an adverse

employment action is proof that similarly situated comparison employees not in the

complainant's protected group were treated more favorably. This is so, in part, because

agencies are not monolithic entities. Turner v. Department of the Navy, EEOC Request
No. 05900445 (September 25, 1990). In general, in the absence of direct evidence of
discrimination, if the complainant cannot identify any similarly situated comparison’
employees who were treated more favorably, he or she will not prevail. Aguilar v. U.S.

Postal Service, EEOC Appeal No. 01944167 (August 8, 1995)

in order for two or more employees to be considered similarly situated for the purpose of
creating an inference of disparate treatment, a complainant must show that all of the
relevant aspects of his or her employment situation are virtually identical to those of the
other employees who he or she alleges were treated more favorably. Smith v. Monsanto
Chemical Company, 770 F.2d 719, 723 (8" Cir. 1985); Murray v. Thistledown Racing
Club, Inc., 770 F.2d 63, 68 (6 Cir. 1985): Nix v. WLCY Radio/Rahall Communications,

738 F.2d 1181, 1185 (11" Cir. 1984); Mazzella v. RCA Global Communications, inc., 642

F.Supp. 1531, 1547 ($.D. N.Y. 1986), affd. 814 F.2d 653 (2° Cir 1987). The Equal
Employment Opportunity Commission has on numerous occasions ruled in similar
fashion. See, for example, Tolar v. U.S. Postal Service, EEOC Appeal No. 01965083
(December 16, 1998), citing O'Neal v. U.S. Postal Service, EEOC Request No. 05910490
(July 23, 1991): and Knapp-Huffman v. Department of Justice (Bureau of Prisons}, EEOC
Appeal No. 01991026 (January 16, 2002).

if employees have different supervisors, perform different joo functions, were subject to
different job standards, engaged in different conduct, or worked during different time
periods, they are not similarly situated. O’Neal, ic; Allen v. Department of the Navy,
EEOC Request No. 05900539 (June 15, 41990): Willis v. Department of the Treasury.
EEOC Appeal No. 01451459 (March 16, 2003}: and Stewart v. Department of Defense,
EEOC Appeal No. 01402890 (June 27, 2004).

For employees to be considered similarly situated, their medical and physical restrictions
must be the same as the compiainant’s. Curtin v. U.S. Pestal Service, EEOC Appeal No.

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01891910 (March 27, 1990): Briand v. U.S. Postal Service, EEOC Appeal No. 01932677
(February 2, 1994); Woody v. TVA, EEOC Appeal No. 0120063987 (December 17, 2007).

Retaliation

To establish a prima facie case based on reprisal, a complainant must show that: (1) he
or she engaged in prior protected activity; (2) the agency official who took the adverse
employment action was aware of the protected activity: (3) he or she was subsequently
disadvantaged by an adverse employment action or adverse treatment; and (4) there is
a causal link between the protected activity and adverse action#treatment. Hochstadt v.
Worcester Foundation for Experimental Biology. Inc., 425 F. Supp. 318, 324 (D. Mass
1976), affd 545 F.2d 222 (1* Cir 1976); Manoharan v. Columbia University College of
Physicians and Surgeons, 842 F.2d 590, 593 (2"4 Cir. 1988); Coffman v. Department of
Veterans’ Affairs, EEOC Request No. 05960437 (November 20, 1997); and Whitmire v.
Department of the Air Force, EEOC Appeal No. 01400340 (September 25. 2000). A
compiainant may establish prior EEO activity by participating at any stage of the EEO
process or opposing unlawfu! discriminatory conduct. See, generally, Lewis_v.
Department of the Navy, EEOC Appeal No. 01810158 (May 22, 1981) (counseling stage):
Ballard v. U.S. Postal Service, EEOC Appeal No. 01923276 (August 17, 1992) (witness):
and Burrough v. U.S. Postal Service, EEOC Appeal No. 01842447 (June 24, 1986)
(representative).

A complainant may also establish a prima facie case by presenting evidence which, if it
was not explained, would reasonably give rise to an inference of reprisal. Shapiro v.
Social Security Administration, EEOC Request No. 05960403 (December 6, 1996).
Obviously, the complainant must offer evidence that the agency officials who took the
action were aware of his or her prior participation or opposition activity (Demeier v.
Department of the Air Force, EEOC Appeal No. 01A11166 (May 23, 2002)) but
establishing that alone will not enable a complainant to establish the causal connection
element of a prima facie case. Garcia-Gannon v. Department of the Air Force, EEOC
Appeal No. 01821195 (June 30, 1983). Adverse actions need not be tiltimate
empioyment actions, just adverse treatment based on a retaliatory motive, which could
deter a reasonable person from engaging in protected activity. Burlington Northern Santa
Fe Railway Company v. White, 548 U.S. 53 (2006); Lindsey v. U.S. Postal Service, EEOC
Request No. 05980410 (November 4, 1999) and EEOC Compliance Manual, Section
8.0.3, Notice No. 915.003 (May 20, 1998).

The causal connection may be inferred by evidence that the protected conduct was
closely followed by the adverse action. Clark County School District v. Breeden, 532 U.S.
286 (2001). The Court in Breeden noted that where a complainant is relying on temporal
proximity to establish a causal connection between prior protected activity and a current
adverse employment action, that proximity must be “very close” and cited with approval
Circuit Court of Appeais decisions holding that time gaps of three to four months between
an individual's prior EEO activity and the current adverse employment action were too
attenuated to suggest an inference of retaliation. The Commission has followed suit and

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rendered decisions establishing much shorter time frames to establish the requisite
temporal proximity. See. for example, Heads v. U.S. Postal Service, EEOC Appeal No.
01A51547 (June 2, 2005); Archibaid v. Department of Housing and Urban Development,
EEOC Appeal No. 01A54280 (September 22, 2005); and Lynch v. U.S. Postal Service.
EEOC Appeal No. 01A24705 (August 14, 2003).

Background

At all times relevant fo the issues in this complaint, the complainant was empioyed as a
full times Sales, Services/Distribution Associate (SSDA) at the Twenty-Second Street
Station in Chicago, IL. (RO!, Exhibit 1, p. 1). The complainant has alleged that Manager
Customer Services Debra Williams-Brown, Supervisor Customer Services Genise Green,
Supervisor Customer Services Talena Franks-Cummings, Manager Customer Services
Tiffany Bates, and Manager Health & Resource Management Jessie Tucker intentionally
discriminated against her because of her Disability (Lumbar radiculopathy/disc
degenerative disease} and Retaliation (Prior EEO Activity) when: 1) On November 27,
2017, she did not believe she was paid for working: 2) On December 15, 2017, she was
told she could not sit down at the retail counter: 3) On January 5, 2018, she was not
accommodated when she was forced to sign a modified job offer that possibly violated
her restrictions; 4) Since January 9, 2018, and continuing, she was not accommodated
when she was told to perform work that violated her restrictions or go home: 5) On
February 24, 26, and 27, and March 1-3 and 29, 201 8, she was not accommodated when
she was only permitted to work about one hour daily; 6) On February 27, 2018, her
starting time was changed; 7) On March 3, 2018, the manager said she would speak to
her about resuming her regular schedule, but she never did: 8) On or around March 30,
2018, she was not accommodated when she was told she would only be permitted to
work one hour daily; and 9) On March 30, 2018, she was not accommodated when she
was told that she could not work until her light duty request was approved.

The complainant identified her medical condition as lumbar radiculopathy and
degenerative disc disease which were diagnosed in 2000 and permanent in nature. (ROI,
Aff. A, p. 2). She claimed relevant management was aware of her conditions. The
complainant explained she could not perform the heavy lifting that was required in
moderation in her job description and she was limited in the amount of time she could
spend performing strenuous tasks such as working post mail without the proper
equipment and was limited from prolonged standing. (ROI, Aff. A, pp. 2-3). She advised
her doctor informed that she was not to perform duties that required pushing heavy
equipment, bending, stooping or twisting, such was working post mail which required
throwing packages at an average of 225-245 packages per hour. (ROI, Aff. A, p. 2). The
complainant contended her daily duties consisted of working post mail for four to six hours
which required standing and pushing heavy equipment which she could not perform for
three to six hours per day without aggravating her back condition. (ROI, Aff. A, p. 3). She
noted she previously worked the retail counter and was required to spread flats, work
undeliverable bulk business mail (UBBM), and the retail counter. The complainant
alleged she was able to perform the duties associated with the retail counter; however,
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management stopped her from working the retail counter without any explanation and
relegated her to working post mail, spreading flats, and assigned her the hardest duties.
The. complainant contended the sales, services associate (SSA) position she was initially
assigned by the District Reasonable Accommodation Committee (DRAC) was supposed
to be working the retail counter only: however, she was not placed into that position. (ROI,
Aff. A, p. 3).

The complainant attested her work restrictions as February 23, 2017 were no lifting over
25 pounds, sitting eight hours, standing and walking intermittently eight hours, climbing
and pushing/pulling one hour. driving six hours, no kneeling, bending, stooping, and
twisting, no pushing over 50 pounds, and recommended sedentary position. (ROI, Aff A,
p. 3). She claimed she was restricted from heavy lifting in her personai life and
experienced numbness in her toes if she walked more than two and a half miles. The
complainant explained she requested reasonable accommodation through the DRAC and
her craft was changed from a carrier to a sales, services associate (SSA) on October 20,
2015; however, she was changed to a sales, services/distribution associate (SSDA)}
which required heavy lifting, and performing distribution duties, with exceeded her
restrictions. She advised she did not regard the accommodation as effective because the
Postal Service did a bait and switch with offering the SSA position but not giving her that
assignment. (ROL, Aff. A, pp. 3-4).

The complainant testified her restrictions on January 4, 2018 were no lifting over 20
pounds, and sitting, standing, walking, and climbing six to eight hours intermittently. (ROI,
Aff. A, p. 4). She alieged the modified job she was given on January 5, 2018 required her
to. stand for four hours continuously which violated her restrictions. The complainant
ciaimed her restrictions changed per her request to prevent management from putting her
off the clock. She averred she was put off the clock on March 30, 2018 and was currently
off the clock due to her restrictions. The complainant asserted that the duties she was
performing were not an accommodation because working post mail was strenuous
manual labor that required twisting, bending, and stooping to retrieve and sort packages
and also required continuous standing. She alieged that management manipulated the
System by invoking other duties as required but were silent on the written job description,
The complainant explained she did not request to appear before the DRAC again;
nowever, she had sent several letters, dated November 16 and 30, 2017, and January
18, 2018, to the DRAC chairperson but had not received any response, (ROI, Aff. A, op.
4-5).

Record evidence does not include a letter dated November 16, 2017.

Record evidence provides a letter dated November 29, 2017 from the complainant to Ms.
Wiiliams-Brown, in response to a verbal request to update her medical stating Ms.
Williams-Brown ignored her statement that she had FMLA and provided her with a second
courtesy copy of her FMLA paperwork. The complainant alleged her FMLA was approved
by decision dated March 7, 2017: therefore, she had coverage until March 7, 2048. In
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addition, WH-380-E, provided a diagnosis and restrictions as well as her condition being
permanent. (ROI, Aff. A, p. 36).

Record evidence reflects a fetter dated December 30, 2017 from the complainant to Ms.
Williams-Brown stating that she began physical therapy on December 28, 2017: however,
the progress was undone when she returned to work on December 29, 2017, and was on
her feet for 5-1/2 hours. The complainant stated the upcoming physical therapy
appointments should be counted toward the hours in her work day and reminded Ms.
Williams-Brown that she had instructed her not to sit at the retail window while working
on December 15, 2017, and that she had been provided a change: of craft by DRAC ina
letter dated November 5, 2015, which Ms. Wiltiams-Brown stated she had been unaware
of and she complied with request to provide a copy of the letter from DRAC dated
November 5, 2015. The complainant informed Ms. Williams-Brown that she had not
mailed a letter dated November 29, 2017, to Ms. Tucker, requesting reasonable
accommodation; however, by virtue of her providing a copy of that letter to Ms. Williams.
Brown, it triggered the reasonable accommodation process in accordance with EL-307.
The complainant claimed Ms. Williams-Brown unofficially changed her starting time frorn
6 a.m. to 12 Noon which was not an effective solution to the problem for working the retail
window as it kept her on her feet the majority of her work day. (ROI, Aff. A, p. 37).

Record shows a letter dated December 30, 2017 from the complainant to Jessie Tucker,
DRAC Chairperson stating that she informed her in a letter dated March G, 2017, that
based on her last MRI, Dr. Chmeil strongly advised her not. to push any equipment over
40 pounds, as it would cause further injury to her back. The complainant claimed she was
currently experiencing a flare-up from pushing heavy equipment and the ohysical
demands of pushing heavy equipment exceeded her restrictions and had caused new
injuries. Also, sorting parceis required her to bend and stoop which was also detrimental
to her back and she was experiencing signs of carpe! tunnel in both hands and forearms:
therefore, itwas time to revisit her request for reasonable accommodation. The underlying
request of Dr. Chmell had been for the complainant to have a sedentary job: therefore,
she urged the committee to look for work that was more suitable. The complainant stated
she would continue to work under old restrictions until she updated her restrictions. (RO!,
Aff. A, p. 38).

Physician's Certification dated February 23, 2017, by Dr. Chmell indicating the
complainant was limited to work with the following restrictions: 25 pound lifting limitation
eight hours, sifting, standing, walking up to eight hours per day, climbing one hour,
pulling/pushing one hour, simple grasping, fine manipulation eight hours, reaching above
shoulder two hours, and driving vehicle six hours, with minimal noise eight hours. (ROI,
Aff. A, p. 44).

Physician's Certification dated December 1, 2017, by Or. Samuel J. Chmeil disclosing the
compiainant was limited to work with the following restrictions: 20 pound lifting limitation;
sitting, standing, walking and climbing six to eight hours with 10 minute breaks. to rest
every 90 minutes as needed. Pulling/oushing one hour, simple grasping and fine
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manipulation eight hours, reaching above shoulder two hours and driving vehicle up: to.
six hours per day. Sedentary position recommended. (ROI, Aff. A. p. 45).

Record shows a letter dated February 22, 2018, from the complainant to Jessie Tucker,
Manager HMR/Chairperson DRAC, regarding the request for reasonable accommodation
extended to her via DRAC by letter dated October 20, 2015 stating the reassignment offer
was affirmed by letter dated November 5, 2015 and the position offered was a Sales
Service Associate in Customer Service, Level 06 (FTR) clerk, however, the pasition she
was slotted into was a Sales Service Distribution Clerk, Level 06 (FTR). The complainant
alleged the difference being the duties of distribution clerk include function 4 which meant
working the docks pushing heavy mail transportation equipment fram the dock into the
building and so forth. It also includes sorting post mail which requires bending, stooping,

and twisting at the torso which impacted her back condition. The position the complainant

accepted was not the position in which she was placed and she cannot continue in that
position due to medica! reasons as they exceed her physical limitations and aggravate
her condition of the lower extremities. She was also having difficulty with the repetitive
movement of simple grasping required to sort parcels as her hands stiffen, and she had

shoulder aches, The complainant claimed that she had not received a response to her

letters dated November 16, 2017, December 30, 2017, or January 21, 2018. (ROL Aff.
A, pp. 61-62).

Record evidence shows a letter dated May 8, 2018 from the complainant to Wanda Prater,
OIC at Cardiss Collins P&DC, regarding Reconciliation of Job Title/Duties, informing Ms.
Prater that she was formerly a Letter Carrier at Ashburn Station, who was offered a
position of Sales, Services Associate by DRAC on October 20, 2015, and was piaced into
a Sales, Services Distribution Associate clerk position. The complainant stated there was
a difference in the two positions as the Sales Service Associate position did not include
the strenuous distribution duties which were in the past performed by mail handlers but
were now being performed by Sales Service Distribution Associates. DRAC had not
responded to her request to correct her job title and position. (ROI, Aff. A, p. 65).

Record discloses FMLA forms and documentation indicating the complainant was
approved for FMLA leave on March 7, 2017. (ROI, Aff. A, pp. 108-111).

Medical documentation, mernorandums, and reports from Samuel Chmell, MD dated
February 15, 25, March 11 and 18, 2017 for the complainant regarding her medical
condition and restrictions. (ROI, Aff. A, pp. 112-114).

Record also includes medical reports dated February 22 and April 7, 2018 from Samuel
Chmell, MD to the US DOL OWCP regarding the complainant's condition of lumbar disc
derangement with radiculopathy. (ROI, Aff. A, pp. 115-125).

Claim. 1: On November 27, 2017, she did not believe she was paid for working.

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The complainant attested that on November 27, 2017, her timecard was not in the fack
when she artived at work so she entered her time on a paper card, PS Form 1280. (ROI,
Aff. A, p. 6). She explained she submitted her restrictions to Ms. Williams-Brown and she
reminded her that she had worked six hours and her time card was missing which Ms.
Williams-Brown acknowledged but never confirmed her time had been input into the
system. The complainant advised her timecard was back in the rack the next day;
however, she had not confirmed she was paid for working on November 27, 2017 as that
could only be verified by pulling the clock rings that were input. She alleged on this same
date, Ms. Wiiliams-Brown noted on her leave slip that updated restrictions were needed
but did not sign the leave form. The complainant affirmed a grievance was not filed
relative to the matter. (ROI, Aff. A, p. 7).

Record shows the Time and Attendance Coliection System (TACS) Employee Everything
Report for the complainant indicating she worked 5.99 hours (Code 05200) and was
charged 2.01 hours AWOL (2400) on November 28, 2017. (ROI, Exhibit 4, p. 1; TACs
Reasons Code - Enclosed),

Claim 2: On December 15. 2017. she was toid she could not sit down at the retail
counter.

The complainant testified she was told on December 15, 2017 that she could not sit dawn
while working at the retail counter by Ms. Williams-Brown. (ROI, Aff. A, p. 7). She claimed
that she was the only clerk singled out because the clerks had stools at the retail counter
and she was the only clerk who was told she could not sit while working at the window.
The complainant clarified that she did not allege she was not accommodated on
December 15, 2017 but rather that she was singled out and treated disparately as
opposed to a failure to accommodate issue. The complainant indicated that the reason
she was given by Ms. Brown was that she received either a call or an email from
“downtown” and she asserted that “they were watching us, and they said she could not
sit down". She asserted she was working with 3 other cferks this day and none of them
were told they could not sit down. (ROI, Aff. A, p. 8). She confirmed a grievance was not
filed relative to the issue. (ROI, Aff. A, pp. 9-10).

Claim 3: On January 5, 2018. she was not accommodated when she was. forced to
sign a modified job offer that possibly violated her restrictions.

The complainant explained she did not allege she was not accommodated on January 5,
2018 but that Ms. Williams-Brown coerced her into signing a modified job offer shortly
after submitting updated medical restrictions as requested. (ROI, Aff. A, p. 9). She
advised she signed the offer under protest and Ms. Williams-Brown refused to engage in
the interactive process to determine whether the job offer was suitable and that did not
have an adverse impact on her life. The complainant alleged the modified job required
her to work post mail for four hours, continuously standing and write second notices for
two hours and her restrictions specified standing intermittently six to eight hours per day.
She claimed she attempted to discuss it with Ms. Williams-Brown but she was dismissive
to her. The complainant advised she was forced to sign the job offer because Ms.
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Williams-Brown threatened to notify the Department of Labor (DOL) if she refused to sign
it. (ROI, Aff. A, p. 10). She alleged she told management she felt the job violated her
restrictions and was told the offer was a reasonable accommodation. (ROL, AM. A, pp.
10-11).

The complainant contends that Ms. Brown said the modified job offer on 1/5/2018 was a
reasonabie accommodation and she responded that the modified jog offer was not a
reasonable accommodation because management failed to engage in the interactive
process. Further she notes standing 4 consecutive hours te work post exceeded her
restrictions to stand intermittently, (ROI, Aff. A. p. 11).

CA-17, Duty Status Report, dated January 4, 2018, for the complainant citing December
9, 2016, as the date of injury. with restrictions of no lifting over 20-pounds. working six to
eight hours per day with intermittent walking, climbing and kneeling. The form was
annotated that it was submitted to Ms. Willlams-Brown on January 5, 2018. at 12:04 p.m.
(ROI, Aff. A, p. 39)

PS Form 2499, Offer of Modified Assignment (Limited Duty). dated January 5, 2018 for
the complainant disclosing an offer working 4:00 a.m. to 10:00 a.m., with Sun/Wed off
days, at 2035 South State Street as a SSDA. The duties were distribution of operation
parcels approximately four hours and writing notices, parcels, certified regisiered mail
approximately two hours. The physical requirements were lifting, carrying, standing,
waiking and climbing six to eight hours per day. The modified assignment offer was signed
by Debra R. Williams-Brown and the complainant annotated it as signed under profest
because the duties were outside of her restrictions per walking, standing. lifting
intermittently, not continuous. (ROI, Aff. A, pp. 40-44).

CA-17, Duty Status Report dated January 11, 2018, for the complainant citing DO! as
December 5, 2016 with restrictions of no lifting over 20 pounds six to sight hour, siting
eight hours, standing four hours, walking two hours, pulling/push ing/simpie grasping eight
hours, fine manipulation four hours reaching above shoulder up to eight hours, and no
twisting, bending/stooping, climbing, or kneeling. Handwritten notes: (1) Need 10 minute
break out of each 60-minute period: (2) recommend sedentary position: (3) May drive
personal car only. (ROI, Aff. A, p. 42).

Ciaim 4: Since January 9, 2018. and continuing, she was not accommodated when
she was told te perform work that violated her restrictions or go home.

The complainant testified she was not allowed to work the job duties on the modified job
offer on January 9. 2018, which was the job offer that she was coerced into Signing. (ROI,
Aff. A. pp. 11-12). She explained the offer consisted of duties of working post four hours
and then writing second notices for two hours. (ROI, Aff. A, p. 12). The complainant
claimed when she had worked post mail for four hours and was writing second notices,
Ms. Green told her she was to resume working post mail. She alleged she told Ms. Green
she was refusing to work post mail due fo medical reasons and she was in pain to which
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Ms. Green told her to work post or go home. The complainant advised she went home.
She averted she specifically told Ms. Green that her restrictions were for intermittent
standing and not continuous. The complainant claimed that Ms. Green and Ms. Williams-
Brown had both stated on separate occasions that they could work her anyway they
wanted as long as it did not violate her restrictions. The complainant confirmed she did
not file a grievance regarding this issue. (ROI, Aff. A, p. 12).

TACS Employee Everything Reports for the complainant for Pay Periods 02-2-2018
through 12-2-2018 (January 13, 2018 through June 8, 2018), reflect the following work
and leave hours: 2018-02-2 - 21.45 work hours 10.55 OWCP: 2018-03-1 - 26.40 work
hours 6.22 OWCP 7.38 LWOP: 2018-03-2 - 40.10 work hours; 2018-04-1 - 43.14 work
hours; 2018-04-2 - 26.59 work hours 3.41 OWCP: 2018-05-1 - 20.27 werk hours; 2078-
05-2 - 6.34 work hours 13.82 LWOP 19.74 SL: 2018-06-1 - 23.60 work hours 16.40
LWOP, 2018-06-2 - 29.97 work hours 10.038 LWOP: 2018-07-1 - 29.96 work hours 10.04
LWOP; 2018-07-2 - 1.62 work hours 14.38 LWOP 24.00 SL: 2018-08-1 --40.00 SL: 2048-
08-2 - 32.00 OWCP 8.00 LWOP: 2018-09-1 - 40.00 OWCP: 2018-09-2 - 40.00 OWCP:
2018-10-71 - 40.00 OWCP; 2018-10-2 - 40.00 OWCP: 2018-11-1 - 40.00 OWCP-: 2018.
11-2 - 40.00 LWOP; 2018-12-1 - 40.00 LWOP: and 2018-12-2 - 40.00 LWOP. (ROI,
Exhibit 4, pp. 2-37, Enclosure).

PS Forms 3971, Request for or Notification of Absence for the period of January 9, 2018
through March 30, 2018, reflects the following: 1/9/2018 - 4.59 Hours for Undergoing
Medical Treatment-OTJ Injury instructed not to hit clock upon 2:02 p.m. arrival from
physical therapy; 1/12/2018 - 2.00 Hours for Undergoing Medical Treatment-OTJ jury
LWOP/OWCP FMLA #10800872345 Call-in Confirmation #108005532691: 1/18/2018 -
3.50 Hours OWCP #1021494 96 Instructed to either throw post or go home by Ms. Green
after working post from 4-8 sign a.m.: 1/18/2018 - 3.10 Hours OWCP #102149196
Approved — Pending approved case; 1/19/2018 - 3.20 Hours OWCP #102149196
Approved — Pending approved case: 1/20/2018 - 3.506 Hours OWCP #102149196
Approved — Pending approved case: 1/22/2018 - 3.45 Hours OWCP Approved - Pending
approval of OWCP, 1/23/2018 - 3.75 Hours LWOP Approved — Pending case approval:
1/25/2018 - 2.75 hours LWOP Approved — Employee isn't able to do anything in
restrictions not just post. Pending case qualification approval: 2/22/2018 - 8.00 Hours fSL
#108000872345 Disapproved — No documentation provided: 2/23/2018 - 0.50 Hours
LWOP Instructed to go home due to restrictions. Disapproved: 2/24/2018 - 6.25 Hours
LWOP-OWCP Disapproved — Per restrictions: 2/26/0018 - 6.50 Hours LWOP
Disapproved — Pending approval; 2/27/2018 - 7.00 Hours LWOP-OWCP#102149196

only 1 hour. No bending or stooping work 1 hour per restrictions: 3/3/2018 - 7.00 Hours

LWOP Signed 3/6/18; 3/8/2018 - 2.00 Hours LWOP Approved: 3/9/2018 - 2.00 Hours
LWOP Signed 3/9/18; 3/10/2018 - 2.00 Hours LWOP Signed 3/10/18: 3/12/2018 - 2.00
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Hours LWOP Signed 3/12/18; 3/15/2018 - 2.00 hours LWOP Signed 3/15/18; 3/16/2018
~ 2.00 Hours OWCP Signed 3/16/18; 3/17/2018 - 2.00 Hours LWOP Signed 3/17/18:
3/18/2018 2.00 LWOP Signed 3/13/18: 3/19/2018 - 2.00 Hours LWOP Signed 3/19/18:
3/20/2018 - 2.00 Hours LWOP Signed 3/20/18: 3/22/2018 - 2.00 Hours LWOP Signed
3/22/18, 3/23/2018 - 2.00 Hours LWOP Signed 3/23/18; 3/24/2018 - 24.00 Hours SL The
complainant annotated Ms. Bates refused to sign after insisting that change injury on duty
to not injury on duty; 3/29/2018 - 7.00 Hours LWOP Signed 3/29/18. Approved; and 3/30-
4/13/18 79.5 Hours LWOP Signed 3/30/18. Approved - Employee is not limited duty.
Employee does not have an approved light duty case. informed employee to submit light
duty request. (ROI, Aff. A, pp. 69-102).

Claim 5: On February 24, 26, and 27, and March 1-3 and 29. 2018, she was not
accommodated when she was only permitted to work about one hour daily.

The complainant explained she worked one hour and 15 minutes on February 24, 2018
and worked one hour on February 26, 27, March 1, 2, 3, and 29, 2018. (ROI, Aff A, p.
16). She claimed that on February 17, 2018, she submitted her restrictions and a copy
of her letter from the DRAC to Ms. Cummings. (ROI, Aff. A, p. 17). The complainant
alleged Ms. Cummings made the decision to work her one hour per day due to her
restrictions of February 24, 2018. She asserted that Ms. Bates worked her 4 hour on
March.29, 2018. (ROI, Aff. A, p. 16). She advised that Ms. Cummings retaliated against
her when she refused to push a metal cart because the weight exceeded her restrictions.
The complainant noted she also told Ms. Cummings she had been on her feet for over
three hours and Ms. Cummings then sent her home. She claimed she worked one hour
and 15 minutes on February 24, 2018 and Ms. Cummings sent her home upon her arrival
at work. The complainant asserted she worked one hour on February 26, 2018 and was
instructed to report to work on February 27, 2018 at 2 pm and work one hour daily. She
explained she told Ms. Cummings she did not agree with her interpretation of her
restrictions and she was taking her restrictions out of context to penalize her. (ROI, Aff.
~A, p. 18). The complainant alleged that Ms. Cummings stated she could only work one
hour per day per her restrictions. She clarified this issue was not an accommodation
issue but was.a retaliation and disparate treatment issue. (ROI, Aff, A, p. 18).

CA-17, Duty Status Report dated February 15, 2018 for the complainant showing
restrictions of lifting 20 pounds one hour, sitting six hours, standing and walking one hour,
pulling/pushing one hour, simple grasping, fine manipulation, reaching above shoulder
fwo hours, and no climbing, kneeling, bending/stooping, or twisting. Handwritten notes
indicate: sedentary position recommended or disability retirement. Recheck in 30 days.
(ROI, Aff. A, p. 43)

Claim 6: On February 27, 2018, her starting time was changed.

The complainant testified her start time was verbally changed on February 27, 2018 by
Ms. Franks-Cummings. (ROI, Aff. A, p. 19). She alleged that no reason was provided
for the change in her start time which was changed to 2 pm to work for one hour and
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leave at 3 pm. The complainant claimed her official start time was 6 am which had
unofficially changed to 10 am by Ms. Williams-Brown per the job offer and then cha nged.
to 2 pm by Ms. Franks-Cummings. She asserted she did not attempt to discuss the
change with Ms. Franks-Cummings because she had displayed nothing but contempt
towards her after she refused to push the accountabie cart on February 23, 2018. The
complainant averred her start time was changed to 11 am under Ms. Bates and she
worked post office boxes and scanned packages. She alleged she believed her start time
was changed to punish her for standing up for her rights when she refused to push the
cart which exceeded her 20-pound weight restriction. (ROI, Aff. A, p. 20). The
complainant confirmed a grievance was not filed relative to the start time issue. (ROI,
Aff. A, 9. 20). '

The record shows that the complainant's start time on February 26, 2018 was 6:00 a.m.
and on February 27, 2018, and March 1, 2018, it was still 6:00 a.m. (ROI, Exh. 4, p. 17).

Claim 7: On March 30, 2018. the manager said she would speak to her about
resuming her regular schedule. but she never did.

The complainant advised that Ms. Bates was responsible for telling her that she would
speak to her about resuming her regular schedule. (ROI, Aff. A, p. 23). She claimed she
never returned to her regular schedule after March 3, 2018 which was 6 am. (ROI, Aff.
A, p. 24). The complainant explained Ms. Bates never spoke to her about resuming her
regular schedule because Ms. Bates went out of town shortly after March 3, 2018. The
complainant indicated she did not file a grievance on this issue. (ROI, Aff. A, p. 24).

Ciaim 8: On or around March 30, 2018, she was not accommodated when she was
told she would only be permitted to work one hour daily.

The complainant alleged on March 29, 2018, she was only allowed to work one hour and
was on the clock for 30 minutes on March 30, 2018. (ROI, Aff. A, pp. 16, 22). She
identified Ms, Bates as being responsible for allowing her to work only one hour on March
29, 2018. (ROI, Aff. A, p. 16). She claimed that Ms. Franks-Cummings had made the
decision she was to work only one hour per day on February 24, 2018. (ROI, Aff. A, p.
17).

Claim 9: On March 30, 2018. she was not accommodated when she was told that
she could not work until her light duty request was approved.

The complainant explained the date was actually March 30, 2018 when Ms. Bates told
her that she could not return to work until she had been approved for light duty. (ROI,
Aff. A, p. 21). She averred this was not a failure to accommodate claim but was retaliation.
The complainant claimed when she arrived at work on March 30, 2018, Ms. Bates called
her to the office with her union steward and Ms. Green present and asked if she had a
OWCP claim to which she responded no comment. The complainant alleged that Ms.
Bates stated she had called OWCP and was told that she did not have an active OWCP
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Claim. She advised that Ms. Bates told her that she was light duty and she could not iet
her work until she was approved for light duty. The complainant claimed that the union
steward intervened and told Ms. Bates that she was made a clerk as an accommodation
and that she had given her a copy of her acceptance letter for reasonable
accommodation. She alleged that Ms. Bates denied receiving the letter and instructed
her to complete a leave request of which she completed requesting 79.5 hours because
she had been on the clock for 30 minutes. The complainant contended Ms. Bates signed
the leave request in order to get her to leave the building. She claimed she walked into
a trap when she came to work and the meeting was an ambush. (ROI, Aff. A, p. 21).

The complainant attested that Ms. Bates gave her the form to request light duty which
was dated March 30, 2018 and completed by Ms. Franks-Cummings. (ROI, Aff. A, p. 22),
She claimed she had not been allowed to work since March 29, 2018 when she worked
one hour and was on the clock for 30 minutes on March 30, 2018. The complainant
explained she did not believe applying for temporary light duty was the proper process
because it was taking her backwards and reversing the alleged reasonable
accommodation. She maintained management had ignored her ever since she began
pointing out that she was converted fo a SSDA instead of a SSA. (ROI, Aff. A, pp. 22-
23).

Request for Temporary Light Duty for the complainant dated March 2, 2018, annotated
“Received 3/30/2018". Part B states: Based on the medical restrictions outlined on the
accompanying physician or practitioner's certification (4F HR-002) — handwritten notation
stating, "Nc medical restrictions outlined was submitted by employee. This is the only
form submitted.” The box is checked off for work is not available in my unit. (ROL, Aff. A,
p. 103). "

Prima Facie Analysis

Retaliation — Claims 1, 2, 3.4, 5, 6. 8. and 9

The complainant identified her prior EEO activity as Agency Case Nos. 4J-606-0122-14,
4J-6060-0014-17, 4J-606-0057-17, 4J-606-0018-16, and 4J-606-0021-13. (ROI, Aff. A,
pp. 25-26). She confirmed that the management officials involved in the instant complaint
were not named in any of the prior EEO activity. (ROI, Aff. A, p. 26). Records show the
complainant had 11 prior EEO complaints to the instant complaint with the most recent
being Agency Case No. 4J-606-0057-17 which was informally filed on January 30, 2017,
formally filed March 29, 2017, and closed via a Final Agency Decision on January 29,
2018 which was presently appealed to the Office of Federal Operations (OFO). (ROI,
exhibit 2, pp. 1-28). Thus, the first element has been met.

The second required element for reprisal requires the complainant to establish that the
agency official was aware of the protected activity. Ms. Williams-Brown asserted she was
not aware of the complainant's prior EEO activity. (ROI, Aff. B, p. 2). Ms. Green advised
she was aware of the complainant's engagement in prior EEO activity but she did not
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recall when she was made aware of it. (ROI, Aff. C, p. 2). Ms. Franks-Cummings advised
she was aware of the complainant's EEO activity when she told her that she filed a
complaint because Ms. Williams-Brown changed her start time. (ROI, Aff. D, p. 3). Ms.
Bates asserted she was not aware of the complainant's engagement in prior EEO activity.
(ROI, Aff. E, p. 3). Therefore, the second element has not been met for claims 1, 2, 3, 8,
and 9. The second element has been met for claims 4, 5, and 6.

With respect to element three, the Supreme Court has held that in examining retaliation
' Cases, adverse treatment is to be considered a broader category of management conduct
than adverse employment actions. Burlington Northern and Santa Fe Ry. Co. v. White,
548 U.S. 53 (2006). Examining the management actions in this case under the broader
category of conduct that may be considered adverse treatment, it will be assumed for the
purposes of this analysis only that the complainant was subjected to adverse employment
actions in regard to her claims in this case.

Turning to the fourth element of the complainant's prima facie case, it has already been
determined that the responsible management officials for claims 1, 2, 3, 8, and 9 were
unaware of the complainant's prior protected activity. It is axiomatic that a management
official cannot engage in retaliation for EEO activity which is unknown by the management
Official. Therefore, the fourth element of the complainant's orima facie case has not been
met for these claims. Any circumstantial evidence suggesting a causal link must be
regarded as purely coincidental. See Demeier v. Department of the Air Force, EEOC
Appeal No. 01A11166 (May 23, 2002).

For claims 4, 5 and 6, the record shows that the complainant's prior formal complaint,
Agency Case Number 4J-606-0057-17, is still pending as the complainant appeaied the
FAD to OFO on March 5, 2018. (ROI, Exhibit 2, pp. 1-7). Therefore, it will be assumed
that the temporal proximity of the compiainant’s prior EEO activity and the adverse
teatment at issue in claims 4, 5, and 6 is sufficiently close such that an inference of
retaliation can be drawn based upon temporal proximity, therefore, the fourth element has
been met for these claims.

Accordingly, the complainant has failed to establish a prima facie case of retaliation for
claims 1, 2, 3, 8, and 9. The complainant has established a prima facie case of retaliation
for claims 4, 5, and 6.

Having made the determination that the complainant has satisfied the essential
requirements of a prima facie case, it is important to point out, however, that such a finding
is not the equivalent of a finding of discrimination. [ is simply proof that, without more, -
the circumstances involving management’s actions may give rise to an inference that
discrimination did occur. At this point, the burden shifts to management to establish that
its actions were taken for legitimate, non-discriminatory reasons.

Disability
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In order to establish a prima facie case of disparate treatment based on a disability, the
complainant must show that she (1) is an “individual with a disability”; (2) is “qualified” for
the position held or desired; (3) was subjected to an adverse employment action; and (4)
the circumstances surrounding the adverse action give rise to an inference of
discrimination. Lawson, supra.

Consequently, the complainant must first show that she was a “person with a disability”
within the meaning of the Rehabilitation Act of 1973. Thus, there must be evidence that
the complainant: (1) has a physical or mental impairment which substantially limits one
or more of that person’s major life activities: (2) has a record of such impairment; or (3) is
regarded as having such an impairment.

The Americans with Disabilities Act Amendments Act of 2008 became effective January
1, 2009. The Act emphasizes that the definition of disability should be construed in favor
of broad coverage of individuals to the maximum extent permitted by the terms of the
ADA and generally shail not require extensive analysis. The Act makes important
changes to the definition of the term “disability” by rejecting the holdings in several
Supreme Court decisions and portions of EEOC's ADA regulations. The effect of these
changes is to make it easier for an individual seeking protection under the ADA to
establish that he or she has a disability within the meaning of the ADA.

The Act retains the ADA's basic definition of “disability” as an impairment that
substantially limits one or more major life activities, a record of such an impairment, or
being regarded as having such an impairment. However, it changes the way that these
siatutory terms should be interpreted in several ways. An impairment that substantially
limits one major life activity need not limit other major life activities in order to be
considered a disability. An impairment that is episodic or in remission is a disability if it
would substantially limit a major life activity when active.

Although the ADAAA did not directly change any of the medical evidence requirements
to establish a disability, it significantly altered both the amount and degree of medical
evidence that can be required by an agency to establish that an individual has a disability.
Most significantly, the amendments altered the degree of evidence required to establish
that a medical condition substantially limits a major life activity. Section (2)(b)(5) of the
ADAAA specifically states that one purpose of the amendments was: to convey that it is
the intent of Congress that the primary object of attention in cases brought under the ADA
should be whether entities covered under the ADA have complied with their obligations,
and to convey that the question of whether an individual's impairment is a disability under
the ADA should not demand extensive analysis. Thus, under the ADAAA, cases must -

now be read in light of the lowered threshold for determining whether a condition is
substantially limiting.

As set forth above, the complainant identified her medical conditions as lumbar
radiculopathy and degenerative disc disease which were permanent in nature. (ROI, Aff.
A, p. 2), Medical documentation contained in the record discloses the complainant was
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diagnosed with lumbar radiculopathy and degenerative disc disease and had restrictions
of no lifting over 20 pounds, sitting six hours, pushing/pulling one hour, simple grasping,
fine manipulation, reaching above shoulders two hours, and standing and walking one
hour. (ROI, Aff. A, pp. 39, 42-43, 115-125). Thus, we will assume, without so finding,
that the complainant is a person with a disability.

Denial of Accommodation

As the complainant has established that she is a person with a disability, the next element
of a prima facie case based on a failure to accommodate is to establish that she is
“otherwise qualified.” The regulations define a “qualified individual with a disability” as a
person who satisfies the requisite skill, experience, educational, and other job-related
requirements of the position the individual hoids or desires and who, with or without
reasonable accommodation, can perform the essential functions of that position without
endangering the health and safety of the individual or others. 29 C.F.R. §1630.2(m). The
essential funciions of a position are the fundamental job duties of the position the
complainant holds or desires considering whether the position exists to perform the
function, whether there are a limited number of individuals available to perform the
function, or whether the function is highly specialized and the incumbent was hired for his
or her expertise. 29 C.F.R. §1630.2(n). The complainant has the burden of proving that
he or she is a “qualified individual with a disability.” Jasany v. U.S. Postal Service, 755
F.2d 1244 (6 Cir. 1985).

The complainant explained she could not perform the heavy lifting that was required in
moderation in her job description and she was limited in the amount of time she could
spend performing strenuous tasks such as working post mail without the proper
equipment and was limited from prolonged standing. (ROI, Aff. A, pp. 2-3). She advised
her doctor informed that she was not to perform duties that required pushing heavy
equipment, bending, stooping or twisting, such was working post mail which required
throwing packages at an average of 225-245 packages per hour. (ROI, Aff. A, p. 2). The
complainant contended her daily duties consisted of working post mail for four to six hours
which required standing and pushing heavy equipment which she could not perform for
three to six hours per day without aggravating her back condition. (ROI, Aff. A, p. 3).

As discussed below, management testified the complainant's medical condition affected
her ability to perform her work assignment. (ROI, Aff. B, p. 2; Aff. C, p. 2; Aff. D, p. 2; Aff.
E, p. 3).

“ It appears from the record that during the relevant time period of the complaint, the

- complainant was unable to perform the essential functions of her assignment with or

without an accommodation. Consequently, the complainant has failed to establish that
she was otherwise qualified.

In order to establish a prima facie case of disability discrimination, the complainant must
prove, by a preponderance of the evidence, that the agency failed to make a needed
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reasonable accommodation, resulting in adverse treatment of her. See Session v. Helms,
751 F.2d 991, 992-3 (9" Cir. 1985), cert. denied. 474 U.S, 846 (1985).

As described above, the complainant explained she requested reasonable
accommodation through the DRAC and her craft was changed from a carrier to a SSA on
October 20, 2015; however, she was changed to a SSDA which required heavy lifting,
and performing distribution duties, which she alleges exceeded her restrictions. (ROI,
Aff. A, p. 3). She advised she did not regard the accommodation as effective because
the Postal Service did a bait and switch with offering the SSA position but not giving her
that assignment. (ROI, Aff. A, pp. 3-4). The complainant further testified her restrictions
on January 4, 2018 were no lifting over 20 pounds, and sitting, standing, walking, and
climbing six to eight hours intermittently and the modified job she was given on January
5, 2018 required her to stand for four hours continuously which violated her restrictions.
(ROI, Aff. A, p. 4). The complainant asserted that the duties she was performing were
not an accommodation because working post mail was strenuous manual labor that
required twisting, bending, and stooping to retrieve and sort packages and also required
continuous standing. She alleged that management manipulated the system by invoking
other duties as required but were silent on the written job description. The complainant
explained she did not request to appear before the DRAC again; however, she had sent
several letters to the DRAC chairperson but had not received any response. (ROI, Aff.
A, pp. 4-5).

Manager Health and Resource Management Jessie Tucker explained she served as the
chairperson for the DRAC for the Chicago District effective April 30, 2017. (ROI, Aff. F,
p. 1). She advised the complainant requested to meet with the DRAC anda meeting was
held on February 23, 2017. Ms. Tucker noted this was an interactive meeting with the
complainant and the committee to discuss her request. (ROI, Aff. F, pp. 1-2). She
averred she informed the complainant a decision by the DRAC would be rendered within
30 days of the meeting. (ROI, Aff. F, p. 2). Ms. Tucker advised after continued dialogue
with the station manager and taking into consideration the complainant's request to honor
her restrictions, distribute workload fairly, and the opportunity to perform soft/allied duties
(RTS), it was determined the complainant's restrictions could be accommodated, She
asserted the complainant was offered an accommodation which would allow her to
perform the essential functions of her position within her medical restrictions and changed
her start time to 7:45 am. Ms. Tucker explained the complainant subsequently rescinded
her request for reasonable accommodation via letters dated March 9, 24, and 9, 2017
resulting in her request for accommodation being denied. She added the complainant
nad requested the DRAC search for suitable work but then she rescinded her request for
accommodation. (ROI, Aff. F, p. 2).

Chicago District Reasonable Accommodation Committee Accommodation Request
Meeting Notifications dated February 6, 2017, and February 2, 2017 advising the
complainant that a meeting was scheduled for February 15, 2017, and subsequently
revised to February 23, 2017, per the complainant's request to review all information
available relative to her request for accommodation. (ROI, Aff. F, pp. 18-20).
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Record includes emails between Jessie Tucker and Mary Somerville dated March 17,
2017, indicating the complainant's restrictions could be accommodated by allowing her to
work on the window servicing customers with the ability to sit down in between customers:
accommodating her with a break every 50 minutes without actually leaving the window
and the weight limits would be within her restrictions. (ROI, Aff. F, pp. 12-1 3).

Record shows a letter dated March 22, 2017 from Jessie Tucker, Chairperson, DRAC to
the complainant stating there was a delay in processing her request for accommodation
due to additional medical documentation submitted and her written request to rescind her
requested accommodations. (ROI, Aff. F, p. 11).

Record includes a letter dated April 13, 2017 from Jessie Tucker, Chairperson, DRAC in
response to the complainant's letters dated March 29, 2017, March 24, 2017 and March
9, 2017 stating the request for accommodation was denied due to the complainant
requesting to rescind her requests for accommodation. The complainant was given 10
business days to appeal the decision by making a written request for reconsideration to
the Manager, Human Resources. (ROI, Aff. F, pp. 6- ).

Law Department's Legal Opinion in Response to DRAC’s Review of Denial of Reasonable
Accommodation dated April 12, 2017, indicates agreement and concurrence in the denial
due to the complainant's request to rescind her request for accommodation. (ROI, Aff. F,
p. 6).

Ms. Tucker advised she did receive a letter from the complainant dated November 16,
2017 and she spoke with both the complainant and Ms. Williams-Brown in regard to the:
istter. (ROI, Aff. F, p. 2). She noted that as such, she did not respond in writing to the
letter. Ms. Tucker averred that she did not recall receiving letters dated December 30,
2017 or January 21, 2018 and no such letters were contained in the DRAC file. She
explained the complainant did submit reassignment requests to other districts for SSDA
positions. Ms. Tucker asserted there was also a list of positions made available to the
complainant to bid on at the time in which she was granted an accommodation to the
clerk craft, all of which were SSDA positions. She further maintained that the PS Form
30s reflect the position that the complainant was placed/bid on due to her accommodation
request was a SSDA position. Ms. Tucker asserted the complainant on her own accord
bid and was awarded a SSDA position on July 8, 2017. (ROI, Aff. F, p. 2).

Reassignment Notification dated May 6, 2015, informing the complainant she was being
considered for the position of PTF Sales, Services/Distribution Associate at the Palos
Heights, Illinois Post Office, based upon her request for reassignment to the Centra!
IHinois District. (ROI, Aff. F, p. 25).

List of eReassign Position Requests and Search for Bid Clusters dated February 19,
2015, indicating a list of ten clerk craft positions in the Central Illinois District the
complainant submitted requests for or saved. The Search for Bid Clusters printout
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disclosing the job title of all positions as Sales, Services/Distribution Associate positions.
(ROI, Aff. F, pp. 26-27).

PS Form 50, Notification of Personnel Action dated November 28, 2015 disclosing the
complainant was reassigned to the position of Full Time Sales, Services/Distribution
Associate at the Irving Park Station as a result of DRAC decision based upon restrictions
while in a Carrier position and was now a qualified SSDA. PS Form 50 dated July 8, 2017,
indicating the complainant was reassigned to the position of Full Time Sales,
Services/Distribution Associate at the Twenty Second Street Station in Chicago, Illinois.
(ROI, Aff. F, pp. 28-29).

Record evidence and testimony indicates the complainant originally requested
accommodation in 2015 and was granted and provided a reasonable accommodation
with a change in craft and reassignment to a SSDA position following an interactive
process. The complainant then made another request for accommodation of which the
Postal Service engaged in the interactive process with her and an accommodation was
identified. However, the complainant subsequently withdrew her request for
accommodation resulting in the request being denied. The complainant had been
provided modified work based on her medical restrictions that were continuously
changing. Following the denial of her OWCP claim, the complainant was required to
request and be approved for light duty work. There is nothing in the record that indicates
the provided accommodation of modified work did not allow the compiainant to perform
sore of the essential functions of her SSDA position. It should be noted that the
complainant is not entitled to the accommodation of her choice, but only to an
accommodation that would allow her to perform the essential functions of her position.
Disabled worker is not entitled to the reasonable accommeodation which he or she prefers
and must show a connection between the disabling condition and the requested
accommodation. Gile v. United Airlines, Inc., 95 F 3d 492, 498 (7" Cir. 1996): Wiggins v.
U.S. Postal Service, EEOC Appeal No. 01953715 (April 22, 1997); and Metzenbaum v.
Office of Personnel Management, EEOC Appeal No. 01986974 (April 4,
2002). Additionally, the Postal Service is not required to accommodate an individual! by
eliminating the essential functions of his or her job or by creating a job not already existing
within the organization, including a light duty position. Turco v. Hoechst Celanese
Corporation, 101 F.3d 1090, 1093-1094 (5t Cir. 1996); Shiring v. Postmaster General,
90 F.3d 827, 831-832 (3% Cir. 1996); and Watson v. Lithonia Lighting and National
Service Industries, Inc., 304 F.3d 749 (7 Cir. 2002), cert. denied 123 S. Ct. 1286 (2003).

Thus, the complainant has failed to establish a prima facie case of failure to accommodate
inasmuch as she failed to show the proffered accommodation did not enable her to
perform the essential functions of her position and she withdrew her subsequent request
for accommodation. As such, the complainant's claim of a prima facie case for failure to
accommodate fails.

Disparate Treatment- Ciaims 2, 3, 4, 5, 6, 8, and 9

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As noted previously, the complainant may establish a prima facie case of disparate
treatment by showing that she: (1) belongs to a protected class: (2) was subjected to an
adverse employment action; and (3) was treated differently in this regard than similarly
Situated individuals who were not members of the protected group.

The complainant is a member of a protected class by virtue of her Disability. She also
suffered adverse actions in regard to being told she could not sit at the retail counter on
December 15, 2017 (claim 2), being forced to sign a modified job offer that possibly
violated her restrictions on January 5, 2018 (claim 3), being told to perform work that
violated her restrictions or go home since January 9, 2018 (claim 4), only being permitted
to work one hour per day on February 24, 26, and 27, and March 1-3 and 29, 2018 (claim
5). having her start time changed on February 27, 2018 (claim 6), being told she would
only be permitted to work one hour daily on March 30, 2018 (claim 8), and told that she
could not work until her light duty request was approved on March 30, 2018 (claim 9).

The complainant identified Denise Lee (City Carrier, Known Medica! Limitations), Ethel
Kinghouse (Carrier Technician, Known Medical Limitations), and Rashida Thomas
(Carrier Technician, Known Medica! Limitations) as comparators who were carriers that
were allowed to perform clerk duties. (ROI, Aff. A, p. 14; Exhibit 8, p. 1; Exhibit 9, p. 1:
Exhibit 10, p. 1). Specifically, the complainant alleged that Ms. Lee had been a modified
carrier since 2006 and Ms. Kinghouse had been allowed to sit as needed and they were
both performing clerk duties and not street mail delivery. (ROI, Aff. A, p. 14). She claimed
Letter Carrier Victor® (City Carrier, Unknown Medical Limitations) was assigned to the
Irving Park Station and was performing clerk duties and Cassandra Glover (SSDA, Known
Medical Limitations} was allowed to work with restrictions for a medical condition that was
not work-related. (ROI, Aff. A, pp. 14, 29; Exhibit 7, p. 1).

Ms. Williams-Brown averred that the complainant never worked with her (Ms. Williams-
Brown) as a carrier and was a clerk, not a carrier. (ROI, Aff. B, p. 8). She advised that
Ms. Kinghouse had a schedule change when assigned as lobby director, working 7:30
am to 9 am and Ms. Lee’s hours were reduced to four nours per day and she was
assigned to clear carriers from 8 am to 2 pm. (ROI, Aff. B, p. 11, 15).

Ms. Green testified that Letter Carrier Victor did not work at the Twenty-Second Street
Station. (ROI, Aff. C, p. 8). She asserted that she was not aware of Ms. Glover not being
able to work while the complainant was on the clock working. (ROI, Aff. C, p. 14).

As discussed above, if employees have different supervisors, perform different job
functions, were subject to different job standards, engaged in different conduct, or worked
during different time periods, they are not similarly situated. O'Neal, /d.: Allen vy.
Department of the Navy, EEOC Request No. 05900539 (June 15, 1990); Willis y.
Department of the Treasury, EEOC Appeal No. 01451459 (March 16, 2003); and Stewart

v. Department of Defense, EEOC Appeal No. 01402890 (June 27, 2001). Additionally,

* The complainant did not identify this comparator's full name. (ROI, Aff. A, p. 74).
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for employees to be considered similarly situated, their medical and physical restrictions
must be the same as the complainant's. Curtin v. U.S. Postal Service, EEOC Appeal
01891910 (March 27, 1990) Briand v. U.S. Postal Service. EEOC Appeal 01932677
February 2, 1994); Woody v. TVA, EEOC Appeal 0120063987 (December 17, 2007).

Ms. Lee, Ms. Kinghouse, Ms. Thomas, and Letter Carrier Victor are not similarly situated
as these employees hold different positions than the complainant. Further, Letter Carrier
Victor also works at a different location. Ms. Glover is not similarly situated as there is no
evidence she had similar circumstances or was not approved for light duty allowing her
to work. Additionally, there is no evidence any of the identified comparators had similar
medical restrictions as the complainant.

Based on the foregoing, there is no evidence that an empioyee outside the complainant's
protected purview was treated better under similar circumstances. Therefore, the
complainant has failed to establish a prima facie case as it related to her claims.

While the complainant is not limited to presenting comparative evidence to establish a
prima facie case of disparate treatment discrimination (See Lipcsey v. U.S. Postal
Service, EEOC Appeal No. 01981884 (January 6, 2000)), she has not presented any
other evidence that affords a sufficient basis from which fo draw an inference of
discrimination.

Management’s Non-Discriminatory Reason

Assuming, but only for the sake of argument, that the complainant has also established
a prima facie case of discrimination based on disability and reprisal for claims 1, 2, 3, 8,
and 9, management has articulated a legitimate, non-discriminatory explanation for their
actions.

Manager Customer Services Debra Williams-Brown advised she was aware of the
complainant's medical condition. (ROI, Aff. B, pp. 1-2). She averred that complainant
had restrictions of no lifting over five pounds, no bending, no pushing/pulling more than
30 pounds, and only working four hours. Ms. Williams-Brown asserted the complainant's
medical condition affected her ability to perform her work assignment because she was
limited in standing, lifting, and bending. (ROI, Aff B, p. 2).

Supervisor Customer Services Genise Green explained she was aware the complainant
had a medical condition as she had submitted medical documentation for different issues,
(ROI, Aff. C, p. 1). She advised the complainant informed her that she could not perform
a certain job within her craft. (ROI, Aff. C, p. 1). Ms. Green averred the complainant's
job duties consisted of throwing parcels, lifting 35 to 70 pounds, working at the window,
lifting and bending. She noted she did not recall the complainant's specific work
limitations as the complainant had not had a consistent medical condition. Ms. Green
asserted the complainant's medical condition affected her ability to perform her work
assignment because she claimed she could only sit ata desk. (ROI, Aff. C, p. 2).
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Supervisor Customer Services Talena Franks-Cummings advised she was the Acting
Manager Customer Services at the Twenty-Second Street Post Office from January 20,
2018 to March 3, 2018. (ROI, Aff. D, p. 1). She explained she was aware the compiainant
had medical restrictions; however, she did not know the complainant specific condition or
injury. (ROI, Aff. D, p. 2). Ms. Franks-Cummings noted there were several sets of
restrictions during her tenure at the Twenty-Second Street office. She averred that the
complainant was limited in standing and walking up to four hours with a limited amount of
bending and stooping. She asserted when she left the Twenty-Second Street location,
the complainant could only walk and stand for one hour. (ROI, Aff. D, p. 2).

Ms. Franks-Cummings advised that most of the clerk’s job duties consisted of standing,
walking, lifting, and bending which included throwing parcels that required lifting up to 50
pound and being into a container to pick up the parcels. (ROI, Aff. D, p. 2). She averred
that the distribution of mail tubs required bending into the equipment and lifting tubs of
mail and walking to the carriers’ cases, throwing hot case mail, which required standing
and throwing the mail, and knowledge of the scheme and the station. She noted that
throwing the hot case could be performed while sitting and sales associates on the
window were required to stand while serving customers and being able to lift up to 70
pounds, if necessary. Ms. Franks-Cummings advised that processing UBBM required
walking case to case and bending and lifting the mail tubs for sorting. She asserted the
complainant's condition limited her ability to perform her work assignment because she
was unable to throw large heavy parcels, and bend into the equipment to retrieve the
small parcels for throwing, and she was able unable to lift and drop tubs to the carrier
cases. (ROI, Aff. D, p. 2).

Manager Customer Services Tiffany Bates attested the complainant informed her that
she had back pain that was not work-related. (ROI, Aff. E, p. 1). She explained she
learned of the complainant’s medical condition during the week of March 5-8, 2018 when
she would assign different tasks for the complainant to complete and she would tell her
what she could and could not do due to her back. Ms. Bates averred the complainant's
duties were performing sales and customer services at retail window which included
maintaining sufficient inventory, accepting and delivering packages and accountable mail,
issuing and cashing money orders, accepting and responding to customer claims and
inquires, providing product and service information to customers, handling and
processing customer purchases and returns of products and services, maintaining
appearance of store, conducting inventories, verifying presort and bulk mailings of all
Classifications, checking and setting post off stamp vending machines and postage
meters, renting post office boxes, assigning and clearing accountable items, distributing
primary and one or more secondary scheme of incoming mail by delivery point based on
distribution schemes, distributing primary and one or more secondary schemes of
outgoing mail for dispatch based on schemes, and other duties like maintaining records,
facing and cancelling mail, making emergency carrier relays, labeling and tying out mail
for dispatch, and other related duties for distribution. (ROI, Aff. E, p. 2). She identified
the complainant's restrictions as lifting/carrying up to 20 pounds intermittently, sitting six
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hours continuously, simple grasping, fine manipulation, and reaching above shoulder two
hours intermittently, and standing and walking one hour per day. (ROI, Aff. E, p. 3). Ms.
Bates further asserted the complainant medical condition affected her ability to perform
her work assignment because she could not perform the physical requirements of
assigned job position. (ROI, Aff. E, p. 3).

Claim 1: On November 27, 2017, she did not believe she was paid for working.

Ms. Williams-Brown testified she did not recall this incident. (ROI, Aff. B, p. 3). She
explained she did not know how the complainant could have worked and not been paid.
(ROI, Aff. B, p. 4).

Ms. Green testified she did not kriow if the complainant worked on November 27, 2017
and was paid. (ROI, Aff. C, p. 3). She explained if the complainant submitted any
Paperwork for pay, whatever she submitted would have been inputted. Ms. Green
advised Ms. Williams-Brown was involved in this issue. (ROI, Aff. C, p. 3).

Claim 2: On December 15, 2017, she was told she could not sit down at the retail
counter.

Ms. Williams-Brown explained it was the Chicago District policy that a clerk could not sit
and wait on customers while working the retail counter. (ROI, Aff. B, p. 4). She advised
the complainant was instructed regarding the Chicago Window Service Policy. Ms.
Williams-Brown averred that the complainant could stand according to her medical
restrictions. (ROI, Aff. B, p. 4).

Ms. Green advised she was not aware of this incident. (ROI, Aff. C, p. 4). She further
explained if she had told the complainant she could not sit while working the retail counter,
it would have been while she was serving customers. Ms. Green averred that she had
instructed all retail clerks on this and all clerks had been told not to sit while servicing
customers. (ROI, Aff. C, pp. 4-5). She maintained that service talks were also conducted
about the issue. (ROI, Aff. C, p. 5).

Claim 3: On January 5, 2018, she was not accommodated when she was forced to
sign a modified job offer that possibly violated her restrictions.

Ms. Williams-Brown advised she did not recall this specific modified job offer. (ROI, Aff. '
B, p. 5). She explained the complainant had several job offers that she refused to sign
until the union steward informed her that management did not have to provide her work if
she refused to sign the offer. Ms. Williams-Brown averred the complainant had seven
total job offers and she simply refused to work any job. She maintained the complainant
never stated the duties were violating her medical restrictions and just called in all of the
time. (ROI, Aff. B, p. 6). Ms. Williams-Brown asserted that management worked the
complainant within her restrictions. She advised the complainant was never forced to
Sign a job offer; however, she refused several offers. Ms. Williams-Brown contended the
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job offers were based on her restrictions and were a reasonable accommodation. (ROI,
Aff. B, p. 6).

Ms. Green advised she had no knowledge of this job offer and was not involved in it.
(ROI, Aff. C, p. 5).

Ciaim 4: Since January 9, 2018, and continuing, she was not accommodated when
she was told to perform work that violated her restrictions or go home.

Ms. Williams-Brown asserted the complainant was not told to perform work that violated
her restrictions on January 9, 2018. (ROI, Aff. B, p. 8). She attested the complainant
refused to pick up small parcels and stood in the middie of the floor watching other clerks
work. Ms. Williams-Brown explained managemeni likely told the complainant if she could
not perform the duties of her modified job (2499), she must go home because the job
offer did not violate her restrictions. She advised the modified job offer was a reasonable
accommodation and the complainant needed tc go back to the carrier craft if she could
not perform the modified job. Ms. Williams-Brown noted that Ms. Green and Samara Byrd
(retired) were also involved in the issue. She contended the complainant refused to work
any assignment. (ROI, Aff. B, p. 7).

Ms. Green testified the complainant was told to perform the duties within her restrictions
and ail the duties she had to perform were within her restrictions. (ROI, Aff. C, p. 6). She
asserted that none of the assigned job duties violated the com plainant’s restrictions. Ms.
Green advised Ms. Williams-Brown was also involved in assigning the complainant work.
(ROI, Aff. C, p. 6).

Claim 5: On February 24, 26, and 27, and March 1-3 and 29, 2018, she was not
accommodated when she was only permitted to work about one hour daily.

Ms. Green averred she did not make the decision to only permit the complainant to work
one hour. (ROI, Aff. C, p. 10). She explained she had returned from vacation and was
told the complainant had submitted updated medical only permitting her to work one hour.
Ms. Green noted Ms. Franks-Cummings was involved in the decision. (ROI, Aff. C, pp.
10-11).

Ms. Franks-Cummings testified that the complainant's restrictions stated she could only
stand and walk for one hour and they did not have any sitting only work available at the
station. (ROI, Aff. D, p. 3). She explained the complainant stated she would still work the
UBBM where she would sit and process the mail; however, she was unable to do this
because she still had to walk from case to case to lift and pick up the mail which would
require walking and standing over the one-hour restriction. Ms. Franks-Cummings
averred that working the window would require the complainant to stand because postal
policy required clerks to stand while serving the customers. She confirmed she was
responsible for making the decision to only allow the complainant to work one hour daily
based on her restrictions at that time. Ms. Franks-Cummings advised the complainant
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questioned her work assignment, stating she could perform the work; however, the
assignments required her to walk and stand. (ROI, Aff. D, pp. 3-4). She contended that
for example if the complainant answered the phone, it would require her to get up and
waik and stand when she had to fook for a package for the customers and assist wit
customer complaints. (ROI, Aff. D, p. 4). Ms. Franks-Cummings maintained tne
complainant was told the decision to work her for one hour was due to her medica:
“estrictions. She asserted the CA-17 that was submitted at that time stated the
complainant could only walk and stand for one hour. Ms. Franks-Cummings maintained
she did not work employees outside of their medical restrictions. (ROI, Aff. D, p. 4).

Ms. Bates identified Ms. Franks-Cummings as being responsible for the compiainar’
being limited to working one hour per day. (ROI, Aff. E, p. 3). She explained she was no:
aware of the complainant's work hours as she was not assigned to the Twenty-Secone
Street station at that time. (ROI, Aff. E, pp. 3-4).

Claim 6: On February 27, 2018, her starting time was changed.

Ms. Williams-Brown advised that she did not recall the date: however. the complainant <
start time was changed to 2 pm and she came in at 6 am and was sent home anc
instructed to come back at 2 pm. (ROI, Aff. B, p. 13). She asserts that the complainant's
‘ime was changed in November 2017. (IF, Aff. B, p. 12). She:explained the complainant
vent home and called in and did not réturn-to work for'several days. Ms. Williams-Brown
asserted the complainant refused to follow the time.on her job offer and came in at any
lime she wished. She averred that she allowed the complainant to sit and remove herse=
from the window when her back hurt. Ms. Williams-Brown further maintained ihe
complainant refused to follow instructions and sat and waited on every customer. (RO:

Aff B. p. 13).

Ms. Green advised she was not involved in this decision: however, she believed the
compiainant’s start time did change. (ROI, Aff. C, p. 11). She explained she was no°
certain who was involved in the decision and she was not sure if Ms. Franks-Cummings
made the decision. (ROI, Aff. C, pp. 11-42)

Ms. Franks-Cummings advised the complainant’s start time was changed due to the
ceeds of the operation. (ROI, Aff. D, p. 5). She explained the complainant was-unable to
oertorm the necessary work in the mornings which was the critical time for the operation.
Ms. Franks-Cummings averred the complainant was moved to.a later time that was no:
as critical and where there was work suited for her restrictions. She confirmed the
complainant was told the change was based on the needs of the operation and for work
amnin her restrictions. (ROI, Aff. D, p. 5).

Claim 7: On March 3, 2018, the manager said she would speak to her about
resuming her reguiar schedule, but she never dic.

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Ms. Bates advised she was the manager effective March 3, 2018; however, she did reoer
to the Twenty-Second Street office until March 4, 2018. (ROI, Aff. E, p. 4). She averrec
‘hat she did not speak with the. complainant on March 3, 2018 and had no contact with
ner prior to March 5,.2018. (ROI, Aff. E, pp. 4-5).

Claim 8: On or around March 30, 2018, she was not accommodated when she was
told she would only be permitted to work one hour daily.

Ms. Bates advised the complainant was only permitted to work one hour per day based
on her medical restrictions. (ROI, Aff. E, p. 5). She further explained the complainant ‘s
“edicai documentation stated she could onlv stand for one hour. Ms. Bates confirmed
she made the decision in regard to the complainant only béing allowed to work one hour
per day after reviewing the CA-17 she submitted. She noted no other manager was
involved in the decision. Ms. Bates averred that the complainant did not question the
decision to onlv allow her to work one hour per day and stated she had no comment.
she maintained a discussion was held with the complainant with her union representative
and Ms. Green present. (ROI, Aff. E, p. 6).

Claim 9: On March 30, 2018, she was not accommodated when she was told tne
she could not work until her light duty request was approvec

“és. Green advised the complainant was told she could not work until her light duty request
“as approved by Ms. Bates and she: (Ms. Green) was also involved in the decision. (ROI,
“fC. p. 18). She explained the complainant was given light duty Paperwork and told
she needed to send the paperwork to. the West Harrison Street office. Ms. Green averrec:
the complainant was told that she needed to apply for light duty because she did not nav<
an on-the-job injury, She noted the complainant did not have a job injury claim andic
case number to support her work. request. (ROI, Aff. C, p. 14).

Vis. Bates confirmed the complainant was told on March 31, 2018 that she could not work
unul her light duty request was approved. (ROI, Aff. E, p. 6). She advised that she toic
the. complainant with her union representative and Ms. Green present of the light dur-
process. Ms. Bates averred that she explained to the complainant that based on her nor-
‘ob related injury, she could not fulfill her required job duties and she would need to get
ight duty approval. She contended that she also explained fo the complainant that after
‘evewing her documentation she submitted and speaking with injury compensation, it
was determined that her injury qualified as light duty. (ROI, Aff. E, pp. 6-7"

Ms. Tucker averred the complainant did not have an approved OWCP claim in effect o:
or about March 30. 2018. (ROI. Aff. F, p. 2). She explained the complainant sustainea
an injury on December 5, 2016; however, she did not report the injury until March 2017
ang the ciaim was denied by DOL effective March 14, 2018. Ms. Tucker advised that the
“ealth Resource Management office did not receive any other notification that the
complainant sustained any other injuries. (ROI, Aff. F, o. 2:
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" UWGP Agency Query System (AQS) Injured Worker Case Query for the complainant
indicating a revised CA 1 Form was received on April 3, 2017, and denied on March 14,
2018. (ROI, Aff. F, p. 4-5).

Emails between Jessie Tucker and multipie managers dated December 16, 2017, throug?
January 10, 2017, indicating the complainant's requests should be considered as ligh:
duty as all of her workers' compensation cases had been closed and/or denied. (RO!
aff. F. pp. 21-23).

3ased on the evidence in the record, management has established their non-
discriminatory reason(s) for their actions. This analysis will now address whether thers
is evidence of pretex-

Pretext

At this point, the complainant has the burden of proving that management's stated reason
iS Not only pretext, but is pretext for intentional discrimination. Tincherv. Wal-Mart Stores.
inc., 118 F.3d 1125, 1429 (7 Cir. 1997). Pretext could be demonstrated by showinc
“such weaknesses, impossibilities, inconsistencies, incoheréencies, or contradictions in
“ne Agency proffered reasons for its action that a reasonable fact-finder could rationally
‘nd them unworthy of credence and then infer that the employer did not act for the
asserted non-discriminatory teason. Morgan v. Hiliti, Inc. 108, F.3d 1319, 1323, (10" Cir.
1997). To do this, the complainant must have shown that, in spite of the articuigied no:-

discriminatory explanation, an overail inference of discrimination could be discerned py «
preponderance of the evidence. U.S. Postal Service Board of Governors v. Aikens, 460
ULS. 711, 714-17 (1983). In other words, the complainant must have shown that the
“gency was “more likely motivated by discriminatory reasons. [Citation omitted]" than not.
oil v. Social Security Administration, EEOC Appeal No. 01970572 (June 8, 2000). Or,
the complainant could have shown that the proffered explanation of the Agency wa:
unworthy of credence. Texas Department of Community Affairs v. Burdine, 450 U.S. 245.
256 (1981). Essentially, the record must have shown that the Agency articulated a faisc
reason and that its real reason was discrimination, St. Mary's Honor Center v, Hicks, 509
U.S. 502,515 (1993). .

According to the Court, it was not sufficient “to disbelieve the employer: the fact finder
must believe the plaintiff's explanation of intentional discrimination.” Hicks, 509 U.S. a:
519. The agency was not persuaded that management's actions were motivated pb
discrimination. The complainant did not offer any direct evidence, corroborating
‘estimony from another witness, or docurnentation, which would have confirmed her claim
‘hat management's actions were discriminatory.

Ciaim 1: ____On November 27, 2017, she did not believe she was paid for workinc

The complainant averred in response to her prior EEO activity being a factor in claim «
‘hat management had pulled her timecard in the past to keep her from clocking in to start
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ner tour. Furthermore she asserted that this was a duplicate question and she had
responded to questions 25 and 26. However, there is nothing that would indicate why
she believed her EEO activity was a factor. (ROI, Aff. A, p. 26). She attested that her
medical condition had nothing to do with this issue. (IF, AGA. p. 7.

Ms. Williams-Brown contended the compiainant's prior EEO activity was not a factor in
waim 1. (ROI, Aff. B, p. 4).

Ms. Green asserted the complainant's prior EEO activity was not a factor in claim 1. (ROI,
Aff. C, 6. 4°

Claim 2: ___On December 15, 2017. she was told she could not sit down at the retail
tounter.

he complainant asserted that being told she could not sit down while working atthe retail
counter was an act of retaliation. (ROI, Aff. A, pp. 8, 27). The complainant noted that he
medical condition was not a factor, retaliation was. (ROL, Aff. A, p.

Ms. Williams-Brown maintained the complainant's Medical condition and prior EEO
activity were not factors in claim 2 because her restrictions permitted her to stand. (ROL
Aff. B, pp. 4-5},

Ms. Green contended the complainant's medical condition and prior EEO activity wer=
not factors as all clerks were told not to sit at the retail counter whiie-servicing customers.

n January 5. 2018, she was not accommodated when she was forced to
1a modified job offer that bose bly y

The complainant asserted her medical condition was a factor in claim 3 pecause sne
would not have been given the job offer if she did not have medical condition. (ROL, Af
A, p. 11). She alieged her prior EEO activity was factor because the people who: watchec
fer downtown on live video stream were aware of her prior EEO activity. (ROI, Aff. A, p.
27).

Ms. Williams-Brown maintained the complainant's medical condition was a factor in cian.
3 as the modified job was based on her restrictions. (ROI, Aff. B, p. 6). She advised she
was not aware of any prior EEO activity for the complainant. (ROI, Aff. B, 9. 6)

January 9, 2018, and continuing, she was not accommodated when
ne was told to perform work that violated her restrictions or go home.

The compiainant alleged that claim 4 was in retaliation for filing prior EEO compiaints anc
for filing grievances. (ROI, Aff. A, pp. 13, 27). She claimed her medical condition was <
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factor because management was aware she had a medical condition and used it to justify
changing her schedule. (ROI, Aff. A, p. 13).

Ms. Williams-Brown explained the complainant’s medical condition was a factor in claim
4 to the extent that management had to give her work she could do. (ROI, Aff. B, p. 7).
She asserted the complainant's prior EEO activity was not a factor in claim 4. (ROI, Aff.
B, p. 7).

Ms. Green averred the complainant's medical condition and prior EEO activity were not
factors in claim 4. (ROI, Aff. C, p. 7).

Claim 5: On February 24, 26. and 27, and March 1-3 and 29, 2018, she was not
accommodated when she was only permitted to work about one hour daily.

Claim 8: On or around March 30, 2018, she was not accommodated when she wee
told she would only be permitted to work one hour daily.

The complainant asserted her medical condition was a factor in claims 5 and 8 because
it was being used to deny her a fair day's work due to her restrictions. (ROI, Aff. A, p.
18). She contended her prior EEO activity was a factor because management did not
work other carriers out of their modified job offers and she was a carrier whom
management changed her craft to a clerk. (ROI, Aff. A, p. 27).

Ms. Green noted she believed the complainant's medical condition was a factor in being
assigned one hour of work; however, her prior EEO activity was not a factor. (ROI, Aff,
C, p. 11).

Ms. Franks-Cummings explained the complainant's medical condition was a factor in
claim 5 because the decision was based on her medical restrictions. (ROI, Aff. D, p. 4),
She averred the complainant's prior EEO activity was not a factor in the decision. (ROI,
Aff. D, p. 4).

Ms. Bates averred the complainant's medical condition was a factor in claim 8 as she was
not medically cleared to perform the required job duties of her position. (ROI, Aff. E, p.
6). She further noted the complainant's prior EEO activity was not a factor in the issue.
(ROI, Aff. E, p. 6).

Claim 6: On February 27, 2018. her starting time was changed.

The complainant contended that the decision to change her start time was motivated by
retaliation because Ms. Franks-Cummings was angry at her refusal to push the cart which
would not have occurred if she did not have a medical condition making it a factor. (ROI,
Aff. A, p. 20). She claimed her prior EEO activity was a factor because management was
using CCAs and letter carriers on the overtime desired list to work post on a daily basis
and should have recruited an employee without restrictions to work earlier on post. (ROI,
Aff. A, p. 28). The complainant alleged her start time was changed from 6 am to 4 am
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then to 2 pm and then to 11 am and she was the only full-time career employee whose
start time kept changing. (ROI, Aff. A, p. 20).

Ms. Green. advised the complainant's medical condition was a factor in claim 6 to the
extent that she was accommodated in any way that management could assist in her
medical condition. (ROI, Aff. C, p. 12). She asserted the complainant's prior EEO activity
was not a factor in her start time being changed, (ROI, Aff. C, p. 12).

Ms. Franks-Cummings asserted that the start time change was based on the needs of
the operation as: well as the complainant's medical restrictions in providing her work she
could perform. (ROI, Aff, D, p. 6). She maintained the complainant's prior EEO activity
was not a factor in the decision, (ROI, Aff: D, p. 6)

claim 7: n_ March.

er reguiar sck

The complainant advised she did not believe her medical condition or her prior EEO
activity were factors in claim 7 and the issue was only bad timing. (ROI,Aff. A, p. 24, 28-
28)

claim 9:____On March 30, 2018, she was not accommodated when she was told that
she could not work until her light duty request was approved.

The complainant alleged her medical condition was. a factor in claim 9 because Ms. Bates
stated she could not work until she was approved for light duty due to her having
restrictions. (ROI, Aff. A, pp. 22-23). She-advised she also believed her prior EEO activir-
was a factor because the manager she named in prior complaints was the light duty
coordinator. (ROI, Aff. A, p..28).

Ms. Green explained the complainant's medical condition was a factor in claim 9 to the
extent there was no work available for her at the station with her medical condition. (RO!
Aff. C, p. 13). She asserted the complainant’s prior EEO activity was not a factor in the
issue. (ROI, Aff. C, p. 13).

Ms. Bates asserted the complainant's medical condition was a factor in claim 9 as light
duty approval came from the postmaster. (ROI, Aff. E, p. 7). She contended the
complainant's prior EEO activity was not a factor in the matter. (ROI, Aff. E, p. 7).

Further. the complainant offered no other evidence or testimony to support these
assumptions on her part. (ROI, Aff. A, pp. 1-32). Moreover, the complainant offered no
evidence to refute the explanation that any time she submitted as having worked was
input into the system on November 27, 2017. Nor did she offer anything to disprove the
reason she was told she could not sit at the retail counter was per District policy, no clerks
could sit while servicing customers. The complainant also offered no evidence to refute
the explanation that her modified. job duties were within her medical restrictions and the
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Additionally, other than her subjective speculation and opinions, the complainant did not
present any evidence to indicate that the agency official who made the decision relative
to the action taken harbored a discriminatory animus toward members of her protected
groups.

The complainant's allegations are not supported by the totality of the record and she has
failed to present any plausible evidence that would demonstrate that management's
reasons for its actions were factually baseless or not its actual motivation. Tincher v. Wak
Mart Stores, Inc. Id; and Morgan v. Hilti, Inc., Supra. A compiainant’s subjective beliefs
cannot be probative evidence of pretext and, therefore, cannot be the basis of judicial
relief. Elliot v. Group Medical & Surgical Service, 714 F.2d 556, 557 (5 Cir. 1983), cert.
denied, 467 U.S. 1215, (1984); see also, Billet v. CIGNA Corp., 940 F.2d 812, 816 (3
Cir. 1991). The complainant cannot second-guess the wisdom of the agency's business
decisions. Thus, agencies are free to discharge, promote, demote, or transfer individuals
for any reason, fair or unfair, so long as the decision is not a pretext for discrimination.
Damon v. Fleming Supermarkets of Florida, inc. 196 F.3d 1354, 1361 (11 Cir. 1999);
Nix v. WLCY Radio/Rahall Communications, 738 F.2d 1181, 1187 (411" Cir. 1984).

In other words, there was nothing that showed by a preponderance of the evidence that
the legitimate explanations given by the agency were pretext for discrimination. Hammons
v. HUD, EEOC Request No. 05971093 (March 5, 1999). Hence, the complainant has not
shown that the agency's explanation for its action is a pretext for discrimination,

Conclusion

After carefully considering the entire record, and applying the legal standards outlined in
McDonnell Douglas Corporation v. Green, 411 U.S. 792 (1973); Prewitt v. U.S. Postal
Service, 662 F.2d 292 (5" Cir. 1981) (applying to cases brought under the Rehabilitation
Act); and Burlington Northern Santa Fe Railway Company v. White, 548 U.S. 53 (2006)
(applying to reprisal cases); the evidence does not support a finding that the complainant
was subjected to discrimination as alleged. Consequently, this complaint is now closed
with a finding of no discrimination.

Appeal Rights

APPEAL TO EEOC
The complainant has the right to appeal the Postal Service's final decision to the:
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Director,
Office of Federal Operations
Equal Employment Opportunity Commission (EEOC)
P.O. Box 77860
Washington, DC 20013-8960

within 30 calendar days of receipt of this decision. The complainant must use EEOC
Appeal Form 573, a copy of which is enclosed, in connection with the appeal. The
complainant may also deliver the appeal in person or by facsimile provided that briefs
filed by facsimile are ten or fewer pages in length. Any supporting statement or brief must
be submitted to the EEOC within 30 calendar days of filing the appeal. Along with the
appeal, the complainant must submit proof to the EEOC that a copy of the appeal and
any Supporting documentation and/or brief were also submitted to the:

NEEOISO — FAD
Nationai EEO Investigative Services Office
USPS
P.O. Box 21979
Tampa, FL 33622-1979

The complainant is advised that if the complainant files an appeal beyond the 30-day
period set forth in the Commission's regulations, the complainant should provide an
explanation as to why the appeal should be accepted despite its untimeliness. [f the
complainant cannot explain why the untimeliness should be excused in accordance with
EEOC Regulation 29 C.F.R. §1614.604, the Commission may dismiss the appeal as
untimely.

RIGHT TO FILE A CIVIL ACTION

Alternatively, if the complainant is dissatisfied with the Postal Service’s decision in this
case, the complainant may file a civil action in an appropriate U.S. District Court within 90
calendar days of receipt of the Postal Service's final decision, within 90 calendar days of
the EEOC’s final decision on any appeal, or after 180 days from the date of filing an
appeal with the EEOC if no final decision has been rendered. If the complainant chooses
to file a civil action, that action should be styled Gwenesther F. Manning v. Megan J.
Brennan, Postmaster General. The complainant may also request the court to appoint
an attorney for the complainant and to authorize the commencement of that action without
the payment of fees, costs, or security. Whether these requests are granted or denied is
within the sole discretion of the District Judge. The application must be filed within the
same 90-day time period for filing the civil action.
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Perwy Fleury

EEO Services Analyst Date: October 25, 2018
NEEOISO

P, O. Box 21979

Tampa, FL 33622-1979

Enclosure: EEOC Appeal Form 573
TACs Reasons Code

cc:
Complainant

Gwenesther F. Manning

19214 Lange St

Lansing IL 60438-3894

USPS Tracking No. 9114 9011 2308 6001 6428 26
